Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 1 of 44




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, ET AL.,  )
                                   )
          Plaintiffs,              )
                                   )           CV No. 20-3010
       vs.                         )           Washington, D.C.
                                   )           October 30, 2020
GOOGLE LLC,                        )           10:00 a.m.
                                   )
          Defendant.               )
___________________________________)


                        TRANSCRIPT OF
       STATUS CONFERENCE VIA TELECONFERENCE PROCEEDINGS
              BEFORE THE HONORABLE AMIT P. MEHTA
                 UNITED STATES DISTRICT JUDGE


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Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 2 of 44




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Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 3 of 44




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Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 4 of 44




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Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 5 of 44




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Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 6 of 44




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     Case 1:20-cv-03010-APM    Document 31   Filed 11/12/20   Page 7 of 44

                                                                             7

1                             P R O C E E D I N G S

2                THE COURT:     Hi.   Good morning, everyone.

3                DEPUTY CLERK:     Good morning.

4                This is Civil Action 20-3010, the United States of

5    America, et al., versus Google LLC.

6                Kenneth Dintzer, Elizabeth Jensen,

7    Jesús Alvarado-Rivera, Ryan Sandrock, Thomas Greene,

8    Stacie deBlieux, Mark Mattioli, Rebecca Hartner,

9    Kelsey Paine, Bret Fulkerson, Kim Van Winkle,

10   Erica Sullivan, Christian Lewis, Dale Cecka, Hart Martin,

11   Jonathan Farmer, Philip Heleringer, Johnathan Carter,

12   Margaret Eckrote, I'm sorry, for the plaintiffs.

13               John Schmidtlein, Franklin Rubinstein,

14   Mark Popofsky, Susan Creighton for the defendants.

15               THE COURT:     Okay, Counsel.     Good morning to all of

16   you and welcome.     I hope that you and your families are safe

17   and healthy and everybody is doing well.

18               Thank you for being available this morning.

19   I thought it would be useful to get everyone together early

20   in this case and get -- and particularly useful for me to

21   get an understanding of how the parties see the case

22   unfolding and what schedule you all envision as we head into

23   the fall and the new year.

24               I kind of had three things I wanted to raise with

25   the parties.    And then certainly did not mean for those
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 8 of 44

                                                                            8

1    three to be the three exclusive matters that we would

2    discuss this morning.

3                But I wanted to first talk about the schedule and

4    then talk about the scope of the litigation.            And then,

5    thirdly, I wanted to raise a handful of housekeeping

6    matters.

7                But let's talk first about scheduling.          As

8    I understand it, the defendant has accepted service of the

9    complaint and, therefore -- or, I should say, waived service

10   of the complaint and agreed to -- I assume counsel agreed to

11   accept service, which puts the answer due in mid-December.

12               So, Mr. Schmidtlein, can you help me understand a

13   little bit in terms of what Google intends to do at that

14   deadline; or whether you all have discussed a different

15   deadline, whether you intend to answer or whether you intend

16   to move to dismiss?

17               MR. SCHMIDTLEIN:    Good morning, Your Honor.

18   John Schmidtlein for Google.

19               You are correct that December of -- I think

20   December 21st, by our calculation, is the date for Google to

21   respond to the complaint.

22               I can tell you at this time that we have not yet

23   made a final decision as to whether we are going to move or

24   answer the complaint.      But I expect that we will finalize

25   that decision in the coming weeks.        And if Your Honor would
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 9 of 44

                                                                            9

1    like us to commit to giving you an indication on that issue,

2    I can certainly put a deadline on that and report back to

3    you.

4                I do think, though, that regardless of whether we

5    move to dismiss or whether we answer the complaint, we are

6    anxious to sort of get moving forward with, I think, a

7    number of other litigation matters that we can put in place

8    and that we can begin discussing with plaintiffs' counsel in

9    the interim having to do with protective orders, other types

10   of disclosures that would be made and I think could be

11   efficiently done before any time to answer or move to

12   dismiss.

13               THE COURT:    So help me understand, though, a

14   little bit, Mr. Schmidtlein, your response, I guess, raises

15   a number of questions:

16               One is, if -- and maybe you don't know the answer

17   to this; and if that's the answer, then that's okay -- are

18   you envisioning, to the extent that you might move to

19   dismiss, would it be a motion to dismiss the complaint in

20   its entirety or a motion to dismiss potentially on a portion

21   of the complaint through -- on only a portion of the

22   government's theories?

23               MR. SCHMIDTLEIN:    I would imagine that if we file

24   a motion to dismiss in this case at this juncture, I

25   anticipate it would be a motion to dismiss the entire
     Case 1:20-cv-03010-APM    Document 31   Filed 11/12/20   Page 10 of 44

                                                                               10

1     complaint.

2                THE COURT:      And so if that's a possibility, then

3     some of the other issues or some of the other matters that

4     you would like to proceed forward on, are those matters you

5     want to put in place in anticipation of possible discovery,

6     or are those matters in place that would be related to any

7     motion?

8                MR. SCHMIDTLEIN:      Those would be matters put in

9     place related to possible discovery in the case.

10               Specifically, I think that the parties should get

11    working on very, very quickly a protective order.             I'm sure

12    Your Honor can recall from the Sysco Foods case that there

13    was some litigation around the contours and the scope of the

14    protective order.       I think that we could sort of possibly

15    deal with those and try to come to an agreement with the

16    government on those.       I've had a preliminary conversation

17    with Mr. Dintzer in that regard.

18               I believe initial disclosures can be done in the

19    relatively near future as well.

20               And that we can begin talking about a process for

21    the government to begin producing to us investigative

22    materials that have been gathered in the case, documents

23    that have been produced to them by third parties as part of

24    the investigation, any declarations, any depositions,

25    because those materials, I think, are going to influence the
     Case 1:20-cv-03010-APM   Document 31    Filed 11/12/20   Page 11 of 44

                                                                              11

1     scheduling and the time periods that we would see as

2     relevant for moving the litigation forward, which, as I

3     said, we're anxious to do.

4                THE COURT:    Okay.

5                Do I assume -- well, let me put it differently:

6     Is it -- has Google received any of the government's

7     investigative material thus far in the lead-up to the

8     litigation?

9                I don't know whether the government shared any of

10    its findings with you or not.         I don't assume for a moment

11    that they supplied you with everything, but have you

12    received any portion of their investigative file?

13               MR. SCHMIDTLEIN:      We have received nothing,

14    Your Honor.

15               THE COURT:    Okay.

16               So, then, Mr. Schmidtlein, in terms of timing,

17    then, look, obviously, the rules don't require you to commit

18    to a decision about whether to move or answer until the

19    responsive pleading date is upon us.         But if there's a date

20    by which you think you'd be prepared to let us know what you

21    have -- what you intend to do, that would certainly be

22    useful in terms of moving things along, and I'd certainly

23    welcome that.

24               So today is October 30th.        What do you think is a

25    reasonable date by which you would be able to advise us what
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 12 of 44

                                                                              12

1     the defendant intends to do?

2                MR. SCHMIDTLEIN:     Your Honor, I would respectfully

3     request until November 13, which will be two weeks.

4                And if I -- I will commit to the Court, if I get a

5     conclusion or we come to a conclusion in advance of that,

6     I will advise the plaintiffs, and I would be happy to advise

7     Your Honor as well in whatever form you would like.

8                THE COURT:    So that would be -- that's fine by me.

9     Two weeks is certainly a reasonable amount of time.             So if

10    you would just file a notice, I think, a simple notice on

11    the docket would be more than sufficient to advise us all.

12               Obviously, if you're thinking changes, that this

13    is going to be somehow a partial motion for summary

14    judgment, as opposed to a complete motion for summary

15    judgment, then let us know that, too.         But I think

16    it would be helpful to get an earlier signal from you all as

17    to how you intend to proceed so we can all sort of try and

18    get things started in as efficient a manner as possible.

19    All right.   So that's a helpful start to understanding where

20    things are going.

21               In terms of protective order, then, let me turn to

22    government counsel and ask to what extent you and

23    Mr. Schmidtlein have been able to discuss contours of a

24    protective order and, in particular, the protective order as

25    it relates to third-party discovery.
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 13 of 44

                                                                             13

1                You know, I have a number of -- well, in Sysco,

2     there were a lot of discussions about third-party material

3     and how third-party material would be treated, in

4     particular, the question of who within the defendant

5     company, or in that case defendant companies, would be

6     entitled to review such material, was something that was

7     litigated early on.

8                So has there been any discussion about that issue

9     and where we stand on that matter?

10               MR. DINTZER:    This is Kenneth Dintzer for the

11    Department of Justice, Your Honor.        Good morning.

12               THE COURT:    Good morning.

13               MR. DINTZER:    Yesterday, we had a preliminary

14    discussion with defense counsel about that specific issue.

15               In fairness to defense counsel, I told him that we

16    would think about it and have it looked over and consider

17    the ramifications of providing this information to defense

18    counsel.   We would have the same reservations that were

19    raised by the FTC in the Sysco case.        In fact, we believe

20    that -- and would be, of course, happy to brief it, but

21    we believe that the concerns that we have here are deeper

22    and broader, and so they warrant a different outcome than in

23    the Sysco case.

24               THE COURT:    Okay.

25               Well, I mean, look, I think this is, obviously, an
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 14 of 44

                                                                             14

1     important issue.    I have expressed myself in how I view this

2     issue, at least in the context of Sysco, where I've said

3     that when the United States Government brings a case against

4     an entity; in this case, that entity has to have some

5     ability to allow someone from a live body be able to review

6     the discovery and help advise the lawyers who are

7     representing the outside lawyers who are representing the

8     entity.

9                And, you know, the FTC, if I remember correctly in

10    that case, had suggested that it would not be appropriate to

11    share third-party material with anyone within the defendant

12    client, and that's not something I accepted.

13               I think we put in pretty strict controls over the

14    number of people within the companies that would be

15    permitted to review the material, and the consequences for

16    misusing that material were pretty severe.

17               And, you know, once we put those protections in

18    place, that was really the last we heard about it.            And

19    I think it's because everybody agreed to play within the

20    rules, and nobody came close to the line.          And I'm certainly

21    hopeful that we have the same solution here.

22               So, look, I guess what I would encourage the

23    parties to do, because I don't feel like we have a real

24    dispute yet in front of me that I ought to weigh in on --

25    but I would certainly encourage the parties to work toward a
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 15 of 44

                                                                             15

1     resolution of that.     And, as I said, you've got some

2     information before you; you're not writing entirely on a

3     clean slate when it comes to my views.         So to the extent

4     that that's helpful, I think you all ought to take that into

5     account.

6                But I'd like to set a deadline, if we could, to at

7     least see where we stand on that issue with respect to the

8     protective order and whether the contours of any protective

9     order are going to need to be litigated.

10               So what do both sides think is a reasonable time

11    frame within which you all can either report back and say

12    that you've reached an agreement or that you think you're

13    going to need to have the issue briefed and litigated?

14               MR. SCHMIDTLEIN:      Your Honor, this is John

15    Schmidtlein again for Google.

16               I would recommend that we report back to you by

17    next Friday, November the 6th.

18               THE COURT:    Okay.

19               MR. DINTZER:    This is Kenneth -- I'm sorry

20    Your Honor?

21               THE COURT:    No.   Go ahead, Mr. Dintzer, is that an

22    acceptable time frame for you?

23               MR. DINTZER:    It is.

24               THE COURT:    Okay.

25               All right.    So we'll look to, then, get a Joint
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 16 of 44

                                                                             16

1     Status Report from the parties by next Friday that indicates

2     where things stand with the protective order.

3                And basically what I'd like to know is whether

4     you've reached agreement on a protective order.            It need not

5     be final, but, nevertheless, whether you've agreed to some

6     agreement, at least as to all parameters of a protective

7     order, or whether there are going to be elements of this

8     that we should litigate early and try and resolve before

9     any -- particularly any third-party material is exchanged.

10               Now, that said, let's talk about initial

11    disclosures and any other discovery the government is

12    prepared to make, particularly any -- well, I assume the

13    company obviously has whatever material it's turned over,

14    but I assume there are investigative transcripts and the

15    like that can be turned over early -- or sooner rather than

16    later.

17               So have you all had a discussion about initial

18    disclosures and other early disclosures before the parties,

19    like I said, exchange formal discovery requests?

20               MR. DINTZER:    This is Kenneth Dintzer.

21               We haven't, Your Honor.

22               Our take on this would be that within 30 days

23    after the entry of the protective order, the Rule 26 initial

24    disclosures would be exchanged, and at that time, that fact

25    discovery would commence.
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 17 of 44

                                                                              17

1                And that as part of fact discovery, the

2     plaintiffs -- I mean, the defendants could, of course --

3     and, presumably, would -- issue the necessary document

4     requests, and that we would respond to it in normal course,

5     just as we would provide our -- and, you know, kick off the

6     litigation ourselves with requests for the defendants, as

7     well as probably for others.

8                So we think that rather than -- and I understand

9     in the merger context, where basically everything is on

10    fire, there's a certain pattern to turning things over

11    because there's simply not the time to do anything else.               We

12    would ask that this be done sort of in the context of the

13    normal progression of the case, which we do want to do

14    quickly.   So we are saying 30 days after the entry of the

15    protective order, we'll have the Rule 26 disclosures; in

16    fact, discovery will commence.        That is how we sort of would

17    propose structuring the steps forward.

18               THE COURT:    Okay.

19               Mr. Schmidtlein, what are your thoughts and your

20    reaction to that proposal?

21               MR. SCHMIDTLEIN:      Well, Your Honor, I guess I

22    would view it a little bit differently.

23               In terms of initial disclosures, I would

24    propose -- I don't think that initial disclosures need to

25    wait until the entry of a protective order in the case.
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20    Page 18 of 44

                                                                               18

1     I think that I would like initial disclosures to be made by

2     November the 13th.

3                I think that the -- in terms -- and in this

4     interim period, we do believe -- and we are anxious to get

5     the government investigatory materials.         And we're prepared

6     to take that on an outside-counsel-only basis while the

7     parties discuss or potentially litigate this question of

8     whether third-party material will be made available in some

9     form or under some restricted access to in-house lawyers.

10    But we certainly don't see there being any delay in the

11    production and the discovery of that material.

12               As far as beginning discovery and serving

13    discovery among the parties, I don't have a problem with a

14    slight pause or staggering that a little bit.

15               But our ability to begin formulating our discovery

16    plan in the case will be impacted, to some degree, based

17    upon the initial disclosures we get from the plaintiffs and

18    from the third-party materials that have already been

19    gathered and the government has access to.             I want to begin

20    reviewing and considering that material as soon as possible

21    because that will impact how we go about conducting

22    third-party discovery in this case, and it, candidly, will

23    impact the schedule in the case.

24               As I mentioned earlier, we are very, very anxious

25    and ready and willing to move this case expeditiously.
     Case 1:20-cv-03010-APM    Document 31   Filed 11/12/20   Page 19 of 44

                                                                               19

1     We look forward to defending this case to the fullest, and

2     we want access to that material so that we can begin that

3     process as soon as possible.

4                 THE COURT:    Okay.

5                 Well, here's my reaction to all of this, which is:

6     I tend to agree with Mr. Schmidtlein in the sense that,

7     look, if the defendant is prepared to move forward, then

8     certainly the government ought to be ready to move forward

9     as well.    As I understand it, the government has been

10    investigating this case for the better part of a year, if

11    not longer, and so it ought to be in a position to move

12    forward with the disclosure of the evidence that it's

13    acquired.

14                So, you know, perhaps an initial disclosure

15    deadline of two weeks is a little bit aggressive.             But I do

16    think let's not wait until a decision on the protective

17    order -- we can certainly talk about whether the protective

18    order -- excuse me, any initial disclosures should be

19    subject to counsel's eyes only or something of that nature,

20    if that's required.

21                You know, for example, I don't know whether the

22    government, at this juncture, would believe that certain --

23    the identity of third-party witnesses, potential third-party

24    witnesses is the kind of thing that either should be for

25    counsel's eyes only at this point or not.
     Case 1:20-cv-03010-APM   Document 31    Filed 11/12/20   Page 20 of 44

                                                                              20

1                So let's do the following:        Why don't we -- well,

2     let me ask:    Mr. Dintzer, if we were to do initial

3     disclosures, how about something by November 20th, is that a

4     reasonable -- that's three weeks from today.

5                MR. DINTZER:    Your Honor, just so that I make sure

6     that I understand what the Court is asking:             We're talking

7     about the Rule 26(a)(1) disclosures; is that right?

8                THE COURT:    Correct.     Correct.

9                MR. DINTZER:    Okay.      Yes.

10               And am I right, Your Honor, that the defendants

11    would be making the same disclosures to us?

12               THE COURT:    Yes, those would be evenly exchanged

13    on November 20th.

14               MR. DINTZER:    We can do that, Your Honor.

15               THE COURT:    Okay.

16               And I will leave it to you all to let me know

17    whether there are any protective-order-related issues with

18    respect to the initial disclosures.          As I said, look,

19    I can't -- I'm in no position to anticipate what all the

20    potential issues might be.       But as I said, at least there

21    are some possible issues with respect to identifications of

22    persons with knowledge.     That's the one issue that strikes

23    me from the get-go.     So if those issues do arise, I think

24    you all just need to let me know if you can't come to some

25    agreement about how those should be treated and we'll
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 21 of 44

                                                                             21

1     proceed in that fashion, okay?

2                So we'll set that as the deadline.          And if there's

3     some disagreement about the form and format of the way those

4     are exchanged, that's just something you all should bring to

5     my attention in advance of that date.         And we'll talk a

6     little bit of housekeeping in terms of how you should

7     communicate with chambers and the like, okay?

8                So let's talk, then, about the government's

9     investigative file.     Look, I assume that, you know, the very

10    first document request is going to be for every document

11    that the government has in its investigative file.            So

12    that'll come as no surprise to anyone.

13               I think the question to me, Mr. Dintzer, is,

14    what's a reasonable date by which the government would be in

15    a position to start producing that investigative file?

16               MR. DINTZER:    If I could ask the Court, does the

17    Court envision that this production be part of a general

18    opening of fact discovery or would this sort of be a

19    unilaterally we'll make this, but fact discovery itself

20    would not open for some time into the future?

21               THE COURT:    Well, look, that's a fair question.

22               On the other hand, I guess I don't know -- I mean,

23    you'd have to tell me what discovery you'd be seeking from

24    the defendant that you haven't already obtained from the

25    investigation.
     Case 1:20-cv-03010-APM    Document 31   Filed 11/12/20   Page 22 of 44

                                                                               22

1                 Now, there may be some -- there may be more

2     discovery that you'd be asking for.         But I guess what I'm

3     most interested in at this point is a disclosure of what are

4     the obvious sort of corpus of material that's out there

5     that's going to be of interest to both sides.

6                 MR. DINTZER:    So respectfully, Your Honor, we --

7     among other things, the government's investigative documents

8     that we got from Google, they ended in, I believe, 2019.

9     So, at a minimum, we'd want a refresh on those.

10                THE COURT:    Okay.

11                MR. DINTZER:    We would want additional custodians

12    that we have or may want to identify that we haven't

13    received.

14                And then there's access to certain data that we

15    were not able to obtain.       And this is just talking about

16    discovery on the defendant, third-party discovery.             We have

17    anticipated that we would have access to a significant

18    amount of third-party discovery as part of this.

19                So that would be -- and so what our ask would be,

20    Your Honor, would be that we raise the bar on fact discovery

21    for both sides.    And then if docket -- assuming day one we

22    get a request from the defendants for our entire file, then

23    we'll have it for them in 30 days, as allowed by the rule.

24    And then that would allow us to also, you know, set out and

25    seek materials from the defendant that we have not yet
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 23 of 44

                                                                             23

1     gotten.

2                THE COURT:    Okay.

3                Well, let's do this.       You know, Mr. Schmidtlein,

4     did you want to add something to that?

5                MR. SCHMIDTLEIN:      Your Honor, if I may, there's no

6     reason why the government file -- and by that I mean

7     documents that were produced either voluntarily or pursuant

8     to civil-investigative demand by third parties, any

9     declarations, any investigational hearing transcripts --

10    there is no reason why all of those materials should not be

11    produced 30 days from today, if not sooner.

12               That material, the government has, you know, all

13    electronically.    There is no reason for us to -- you know,

14    I assume Your Honor is probably going to want to schedule a

15    Rule 16 conference.     And, you know, we're prepared to have

16    our 26(f) report and do all of those -- you know, go through

17    all of those exercises to try to come back to Your Honor

18    with a schedule and begin thinking about how we move this

19    case forward.    But our access to that material is going to

20    be critical for us to be able to build in and think about

21    the contours of this case and the timing of it.

22               Frankly, I would like to get -- if nothing else,

23    I would like a list, just a list of all of the parties who

24    they're going to produce information from and some estimate

25    of the volume of that material, because we have no insight
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 24 of 44

                                                                             24

1     into that.   I don't know if they have -- I know how much

2     they've gathered from my clients, and it's a lot.

3                And Mr. Dintzer says they've only gathered

4     information through the end of 2019.        They've gotten -- they

5     have gone back and gotten some additional information

6     through the summer of 2020.      They have a lot of information

7     that they have received from my client as part of this

8     investigation.    I have no window into what material they've

9     received from others.     So before we kick off discovery anew,

10    I need to get access to, I need to get insight into the

11    breadth of that other material.       And there is no good reason

12    to hold off or postpone us getting that material.

13               So I would respectfully request, I'd like a list

14    next week of all of the various parties that have provided

15    information.    And, again, I'm happy to take this on an

16    outside-counsel basis, an estimated volume of the type of

17    that information.

18               And then we want the actual -- all of the

19    underlying information -- I don't see any reason why they

20    can't produce that in 14 days, candidly, because, again,

21    it's all electronic.     But if there's some other problem or

22    reason why it can't be done before then, I'm certainly

23    willing to work with plaintiffs' counsel.          I don't want to

24    be unreasonable, but I've certainly been in cases where I've

25    been asked to make productions of that nature on that type
     Case 1:20-cv-03010-APM    Document 31   Filed 11/12/20   Page 25 of 44

                                                                              25

1     of time schedule.       So that's our position, Your Honor.

2                THE COURT:      Okay.

3                MR. DINTZER:      If I may be heard, Your Honor.

4                THE COURT:      Sure, Mr. Dintzer.      Why don't you go

5     ahead.

6                MR. DINTZER:      It's just what the defense is asking

7     for, is asymmetric discover.

8                And I respect -- I mean, this is a significant

9     case, both in magnitude and in size.         And there's really no

10    reason for us to sort of dock the steps envisioned under the

11    Federal Rules of Civil Procedure.

12               And there are things that we would like.            One of

13    them -- and I don't want to get into the weeds with

14    Your Honor, but one of the things that when Google provided

15    certain information to us, they provided it coded -- some

16    data that was significant to us, they provided it coded and

17    would not give us the code.         And so that's something that

18    early on in discovery, we expect to revisit.

19               And so what they're envisioning is a process where

20    we're providing them with an enormous amount.            They're not

21    providing us with anything in addition.          And the Federal

22    Rules don't envision that.         And, quite honestly, as somebody

23    who's defended the government on a number of occasions,

24    every defense counsel starts off with not having the

25    information, and that's what the discovery process is.
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 26 of 44

                                                                             26

1     So what my counsel at the Bar is describing is, basically,

2     the normal occurrence of every single defense case that I've

3     ever been part of.

4                So I would just say that and ask the Court to

5     allow us to proceed in something that's very orderly, which

6     is, let's get the protective order in place, and then let's

7     open -- let's get our initial disclosures, let's open fact

8     discovery, and then the parties can both seek the materials

9     they need going forward.      I think that's the most efficient

10    thing.

11               THE COURT:    Okay.

12               MR. SCHMIDTLEIN:      Your Honor, just very briefly.

13               I am surely not asking for asymmetric discovery.

14    What a defendant experiences during the course of an

15    investigation, that is asymmetric discovery, I would

16    respectfully submit to you.       I'm just trying to get caught

17    up.   So we appreciate your consideration of this issue.

18               THE COURT:    So let's do the following.

19               And I'm not doing this to kick the can down the

20    road just for the sake of kicking the can down the road.

21    I think we're early enough in this that we ought to let a

22    few things settle before I make some decisions about

23    deadlines in terms of making disclosures and who's

24    disclosing what.

25               So let's put a pause on this issue just for now.
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 27 of 44

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1     I'm not suggesting it will be long pause.          But right now, we

2     at least have a couple of dates in place by -- so

3     November 6th, if my memory serves, that's the date you all

4     will get back to me in terms of a protective order.             The

5     13th is the date by which the defense will indicate whether

6     it tends to move to dismiss or answer.         And then we have an

7     initial disclosure date of November 3rd -- excuse me,

8     November 20th.    So we have got three successive weekly

9     deadlines coming up in quick succession.          And I think that's

10    at least a good way to get started in moving things forward.

11               And what I think we'll do is, before this call

12    ends, we'll set another status conference in a few weeks,

13    after at least a couple of these deadlines have passed, so

14    that I have a better sense of where things stand.            And then

15    we can talk, perhaps, more -- with a little bit more

16    certainty about where some things are headed, and that'll

17    help set some of the discovery schedule that both sides are

18    asking for at this point.

19               And, in particular, I'm obviously very interested

20    to hear from Google as to whether they're going to intend to

21    move to dismiss the case or not.       And if we get some

22    indication that they are not intending to move to dismiss

23    the case, then we can certainly move forward full-steam

24    ahead with structuring discovery.       So let's just put a pause

25    on that debate for now.
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20    Page 28 of 44

                                                                               28

1                Before I sort of turn to the next issue on my

2     agenda, that is, sort of a couple of questions of scope,

3     does anybody else want to raise anything about the schedule

4     and initial requests that either side may wish to raise at

5     this point?

6                MR. DINTZER:    Not from the government, Your Honor.

7                MR. SCHMIDTLEIN:      Not from Google, Your Honor.

8                THE COURT:    All right.    Very good.

9                Then I just had a couple of questions about scope,

10    and these are questions directed to the government.

11               I'm sort of curious about two things.            The first

12    is whether, at this juncture, the government envisions any

13    amendment of the complaint, or whether it's the government's

14    intention, at least as of today, to prosecute this matter

15    under the current scope as it's defined by the complaint

16    that's before me right now or whether the government is

17    still contemplating an amendment that might expand some of

18    the theories of unoptimistic behavior.

19               MR. DINTZER:    Your Honor, without waiving sort of

20    the rights that the Federal Rules provide down the road, we,

21    at this time, we have no intention of amending the

22    complaint.

23               THE COURT:    Okay.

24               And certainly nothing you say here is necessarily

25    preclusive, I want to be clear about that.             That was just a
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 29 of 44

                                                                             29

1     question that I had.

2                And then secondarily, whether the government is

3     aware of whether there may be any request to intervene in

4     this case by States Attorneys General -- there already are

5     some states who are plaintiffs in this matter -- but whether

6     the government has any indication at this juncture whether

7     there may be additional states who may seek to intervene and

8     seek to expand the scope of the case?

9                MR. DINTZER:    I guess the best way I could say

10    this, Your Honor, is nothing that I feel is concrete one way

11    or the other that I could speak about publicly at this time.

12               I don't want to answer the Court and say "I don't

13    know," but I don't have anything that is concrete enough for

14    me to provide a public answer on that.

15               THE COURT:    Okay.   That's fair.

16               I mean, again, these are questions that were just

17    top of mind for me in terms of thinking about things and

18    what the time -- what this case may look like over the

19    horizon.   And, you know, I understand the constraints that

20    you're under in terms of your ability to make

21    representations.    I appreciate that.      Okay.

22               The final thing I wanted to just raise with the

23    parties is some housekeeping issues.        The first concerns

24    just personal disclosures that I need to make to both

25    parties.   I don't think either of these are terribly
     Case 1:20-cv-03010-APM    Document 31   Filed 11/12/20   Page 30 of 44

                                                                               30

1     significant, but I want to make sure that everybody is aware

2     of them.

3                The first is that I have a first cousin, his name

4     is Chirag, C-h-i-r-a-g, Mehta, same last name, who is an

5     employee of Google; he's an engineer there.             I will confess

6     to you I don't know what he does or what particular product

7     or area in Google he works in.         He's someone that I am

8     periodically in touch with.       So I wanted the parties to be

9     aware of that, one.

10               Two, a close friend of mine was an executive in

11    the company for many years.       It's been a while.        He's since

12    left the company.       His name is Shailesh, S-h-a-i-l-e-s-h,

13    last name is Rao, R-a-o.       I think at the time he left, he

14    was the head of Google in Asia or at least in East Asia.

15    He was the head of Google in India for a number of years.

16    He left the company, I think it was probably four or five

17    years ago.   And, again, I don't know whether that's --

18    whether he's at all relevant to any of the issues that are

19    before me, but I wanted to make sure everybody was aware of

20    that relationship.

21               Finally, again, I don't think this is an issue,

22    but, as you all may know, I've been the judicial

23    representative to the ABA antitrust section for the last

24    year-plus.   I'm in a term of three years.          I've obviously

25    been to conferences where these issues concerning antitrust
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 31 of 44

                                                                                  31

1     investigations of tech companies have been discussed.             I've

2     done nothing more than participate in them as a listener;

3     I've not been on any panels discussing the topic.            And to

4     the extent that the ABA has taken any position on these

5     issues, I don't know whether it has or not, and let me

6     assure you that I have not participated in any discussions

7     about taking issues -- taking a position on any issues that

8     might be relevant to this case, if the ABA has done so.                So

9     I wanted to make that disclosure to everyone.

10               Just a couple of issues to highlight for down the

11    road; I don't know that we need to have any firm decision

12    about these -- either of these two issue.

13               The first concerns filings that you all make.               You

14    know, I found in the Sysco case that having hyperlinked

15    briefs was extremely helpful to me.        Now, you know, that

16    case didn't involve that many pleadings, as it turns out,

17    and I would expect that this case may have some more.

18               But I want you all to just be mindful that I will

19    probably ask you to hyperlink your briefs that you submit to

20    me, perhaps not all of them, but certainly any substantive

21    briefs that involve significant case law and obviously

22    anything that involves significant links to any record.

23               It is just extremely helpful for a judge to be

24    able to have a brief, an electronic brief where you can

25    click on hyperlinks to the record and have those record
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 32 of 44

                                                                                   32

1     citations come up automatically on a second screen.             It's

2     just incredibly valuable.      So as we move forward, I think

3     we'll talk more about briefs that necessitate hyperlinks and

4     how to go about doing written briefs that are hyperlinked

5     with the record, that's one.

6                Two, in terms of sealed materials, again, I don't

7     see that anything we discussed early on right now will

8     necessarily require the filing of sealed materials, but, you

9     know, I'm sensitive to the fact that there may be, at

10    various points in time, either commercially valuable

11    information, trade secrets of the defendant, or third-party

12    information that parties want to put before the Court.                 You

13    know, I will ask you all to be mindful of how much of that

14    you think actually needs to be placed under seal.

15               There is, as both sides know, case law from the

16    Circuit that requires the Court to weigh both public and

17    private interests in making sealing determinations.             I found

18    in Sysco that the parties were pretty good about just simply

19    placing everything under seal reflexively and were

20    thoughtful and sensitive about it before they actually

21    placed something under seal, and I would just ask you all to

22    do the same.

23               Again, you know, I don't think I'm in a position

24    at this point, since I don't know what the full scope of the

25    types of materials would be, to lay down any hard-and-fast
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 33 of 44

                                                                             33

1     rules about what should be under seal and what should be not

2     under seal.    But I think it is important at this point to

3     just ask everybody to be mindful about that issue.

4                Third, in terms of communicating with chambers in

5     these early weeks and months, I'll just ask that, to the

6     extent that there's any particular request, whether it be

7     with respect to scheduling and the like or any specific

8     requests that any of the parties are seeking by relief, that

9     it be done through a motion.

10               You know, this is a very public case and folks are

11    following it closely.     And so to the extent that there are

12    specific requests for changes in timing or specific requests

13    for relief, please file a motion requesting that relief.

14    Obviously, make sure you confer with the other side, as

15    required by Local Rules, before you do so.

16               As we move forward in this case, we'll have to

17    come up with procedures regarding discovery disputes.             My

18    ordinary procedure, which is usually to just have the

19    parties call chambers to raise disputes, I don't think,

20    frankly, is going to be appropriate in this case, given its

21    scope and the public nature of it.        So I think we'll want to

22    have to think through a little bit how to deal with

23    discovery disputes.     I don't think it's anything we need to

24    consider now, but something to bear in mind as we move

25    forward.
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 34 of 44

                                                                             34

1                The final issue I want to just raise is not really

2     an issue but just to set an expectation for both sides:

3     I recognize the stakes are high in this case, nobody needs

4     to be reminded of that; the significance of the matter is

5     evident to everyone.

6                But I will just ask everybody to please be mindful

7     of the importance of professionalism and decorum among the

8     parties.   I will tell you that the lawyers in Sysco versus

9     U.S. -- in the FTC case against Sysco and US Foods were

10    terrific in that regard, highest degree of professionalism

11    and courtesy to one another, and it's certainly my

12    expectations that the parties in this case will live up to

13    that standard.

14               All right.    With that, that was my agenda for this

15    morning.   Does anybody else want to raise anything else

16    before we adjourn this morning?

17               MR. DINTZER:     The Department of Justice has

18    nothing else to address, Your Honor.        Thank you.

19               THE COURT:    All right.    Thank you, Mr. Dintzer.

20               MR. SCHMIDTLEIN:      Nothing else for Google,

21    Your Honor.    Thank you.

22               THE COURT:    Okay.    Very good.

23               I think the one last thing, just before we

24    adjourn, let me -- once last thing I do want to do is, let's

25    set another date for us to reconvene.         I think these
     Case 1:20-cv-03010-APM    Document 31   Filed 11/12/20    Page 35 of 44

                                                                               35

1     periodic -- I think setting up periodic check-ins will be

2     useful not just at the start but going forward.

3                 But we've got a couple of dates on the calendar

4     right now already.      So why don't we -- what's everybody's

5     availability on November the 16th at, say, 11:00 a.m.?

6                 MR. DINTZER:    The Department of Justice is

7     available, Your Honor, for meeting at that time.

8                 MR. SCHMIDTLEIN:     Your Honor, this is John

9     Schmidtlein.

10                I actually have a deposition that date that I will

11    be --

12                THE COURT:    You mean, Mr. Schmidtlein, you

13    actually have other matters?

14                All right.    Well, so the 16th doesn't work for

15    Mr. Schmidtlein; that's fine.

16                My schedule on the 17th is a little packed right

17    now.    So how about the 18th, how does that look for

18    everybody at, say, 11:30?

19                MR. DINTZER:    The Department of Justice is

20    available at that time, Your Honor.

21                MR. SCHMIDTLEIN:     Yes, John Schmidtlein for

22    Google.    That time is good for us as well.            Thank you for

23    accommodating my schedule.

24                THE COURT:    Oh, of course.

25                So on the 18th, we'll have another status
     Case 1:20-cv-03010-APM   Document 31   Filed 11/12/20   Page 36 of 44

                                                                                  36

1     conference.

2                And, look, you know, we will continue to have

3     these status conferences telephonically or, if the need

4     arises, through videoconference for the foreseeable future.

5     You know, I'm just not inclined at this point to require

6     lawyers to come in unnecessarily when we can accomplish what

7     we need to accomplish telephonically.

8                I am also very cognizant of the number of people

9     that a public hearing in court could draw, and it seems to

10    me -- it seems that, for the safety of everyone, continuing

11    to do these conferences telephonically until the foreseeable

12    interest is in everybody's health and safety interests.                So

13    we'll continue to proceed in this fashion, unless there's a

14    pressing reason to come before the Court physically.

15               Okay.   With that, thank you, all, for your time

16    this morning, and we'll look forward to hearing from you.

17    We'll get out a Minute Order that contains the dates that

18    we've discussed this morning and then we'll look forward to

19    getting back together with everybody in a few weeks,

20    all right?

21               MR. SCHMIDTLEIN:     Thank you.

22               MR. DINTZER:    Thank you, Your Honor.

23               (Proceedings concluded at 10:50 a.m.)

24

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Case 1:20-cv-03010-APM    Document 31   Filed 11/12/20   Page 37 of 44




                         C E R T I F I C A T E
                  I, William P. Zaremba, RMR, CRR, certify that
 the foregoing is a correct transcript from the record of
 proceedings in the above-titled matter.
                  Please note: This hearing occurred during
 the COVID-19 pandemic and is therefore subject to the
 technological limitations of court reporting remotely.




 Date:__November 10, 2020____ /S/__William P. Zaremba______
                                    William P. Zaremba, RMR, CRR
                                                                                                                                  38

      Case 1:20-cv-03010-APM         Document
                   202 [4] 1/16 6/4 6/8        31[1] 2/20
                                         734-3970    Filed 11/12/20
                                                              15/12 16/4 Page   38 of 5/12
                                                                         16/6 20/25    44
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 MR. DINTZER: [20]                               8
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 MR. SCHMIDTLEIN:                                936-1674 [1] 3/6
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 7/15 9/13 10/2 11/4                             ABA [3] 30/23 31/4
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 17/18 19/4 20/8 20/12                            29/20
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 25/2 25/4 26/11 26/18                            14/5 22/15 23/20 31/24 AMIT [1] 1/10
                        30th [1] 11/24                                                                      Atlanta [1] 5/17
 28/8 28/23 29/15 34/19                          about [39]
                        317 [1] 3/14                                        among      [3]   18/13 22/7 attention [1] 21/5
 34/22 35/12 35/24                               above [1] 37/4
                        323 [1] 5/10                                         34/7                           Attorney [14] 2/3 2/4
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                        359-4223 [1] 5/6         access [7] 18/9 18/19 34/11 34/25 35/25                    Austin [1] 3/6
0101 [1] 1/20                                     19/2 22/14 22/17 23/19 answer [11] 8/11 8/15 automatically [1] 32/1
0151 [1] 2/14           39205  [1]   5/5
                        3970 [1] 2/20             24/10                      8/24 9/5 9/11 9/16 9/17 availability [1] 35/5
0340 [1] 1/16
                        3rd [1] 27/7             accommodating [1]           11/18 27/6 29/12 29/14 available [4] 7/18 18/8
1                                                 35/23                     anticipate [2] 9/25              35/7 35/20
                        4                        accomplish      [2]  36/6   20/19                          Ave  [1] 1/20
10 [1] 37/10
                        40 [1] 5/17               36/7                      anticipated [1] 22/17 Avenue [2] 2/13 6/13
10-0101 [1] 1/20
                        404 [1] 5/18             account [1] 15/5           anticipation [1] 10/5           aware [4] 29/3 30/1
1000 [1] 2/18
                        40601  [1]   4/6         acquired    [1]  19/13     antitrust    [2]   30/23         30/9 30/19
1024 [1] 4/5
           1/6          415 [1]   1/21           Action [1] 7/4              30/25
10:00 [1]                                                                                                   B
                        4223 [1] 5/6             actual [1] 24/18           anxious [4] 9/6 11/3
10:50 [1] 36/23
                        434-5000    [1]  6/4     actually  [4]   32/14       18/4   18/24                   back [7] 9/2 15/11
1100 [1] 1/15
                        450 [1]   1/20            32/20 35/10 35/13         any   [34]   9/11   10/6         15/16 23/17 24/5 27/4
11549 [1] 2/19
                        46204 [1] 3/14           add [1] 23/4                10/24 10/24 11/6 11/9 36/19
11:00 [1] 35/5
                                                 addition [1] 25/21          11/12 13/8 15/8 16/9           bar [2] 22/20 26/1
11:30 [1] 35/18         5                        additional    [3]  22/11    16/9   16/11    16/12   18/10  based [1] 18/16
12th [1] 6/3
                        5000  [1]  6/4            24/5 29/7                  19/18    20/17   23/8   23/9   basically [3] 16/3 17/9
13 [1] 12/3
                        501 [1] 5/11             address [1] 34/18           24/19 28/12 29/3 29/6 26/1
1300 [1] 5/17
                        502 [1] 4/7              adjourn [2] 34/16           30/18 31/3 31/4 31/6           basis [2] 18/6 24/16
13th [2] 18/2 27/5
                        512 [1]   3/6             34/24                      31/7   31/11    31/20   31/22  Baton [1] 2/6
14 [1] 24/20
                        5300  [1]  4/7           advance    [2]   12/5 21/5 32/25 33/6 33/7 33/8            be [82]
1549 [1] 2/20
                        555 [1] 2/13             advise [5] 11/25 12/6 anybody [2] 28/3 34/15 bear [1] 33/24
15th [1] 3/5
                        583-9211 [1] 1/21         12/6 12/11 14/6           anyone [2] 14/11 21/12 because [7] 10/25
16 [1] 23/15
                        59620-0151 [1] 2/14      after [3] 16/23 17/14      anything [8] 17/11               14/19 14/23 17/11
1674 [1] 3/6
                        5th [1] 6/7               27/13                      25/21    28/3   29/13   31/22   18/21 23/25 24/20
16th [2]  35/5 35/14
                                                 ag.louisiana.gov [1]        32/7 33/23 34/15               been [14] 10/22 10/23
1700 [1] 6/7            6                         2/7                       APPEARANCES [6]                  12/23 13/8 18/18 19/9
17th [1] 35/16
                        601 [1] 5/6              again  [8]   15/15 24/15    1/12   1/23   2/21   3/15  4/9  24/24 24/25 26/3 30/11
1885 [1] 2/5
                        6309 [1] 3/14             24/20 29/16 30/17          5/19                            30/22 30/25 31/1 31/3
18th [2] 35/17 35/25
                        6400 [1] 2/7              30/21 32/6 32/23          appreciate [2]        26/17     before   [18] 1/10 9/11
19 [1] 37/6
                        6503 [1] 6/13            against [2] 14/3 34/9       29/21                           15/2 16/8 16/18 24/9
2                       651-7675 [1] 5/18        agenda [2] 28/2 34/14 appropriate [2] 14/10 24/22 26/22 27/11 28/1
                        682-8063    [1]  5/11    aggressive [1] 19/15        33/20                           28/16 30/19 32/12
20-3010 [2] 1/4 7/4
                        696-5300    [1]  4/7     ago  [1]  30/17            are  [38]                        32/20 33/15 34/16
200 [2] 4/6 5/10
           6/14         6th [2] 15/17 27/3       ago.ms.gov      [1]  5/6   area   [1]   30/7                34/23 36/14
20001 [1]
20005 [1] 6/3                                    agree [1] 19/6             arise   [1]   20/23             begin  [7] 9/8 10/20
                        7                        agreed [4] 8/10 8/10
20012 [1] 6/8                                                               arises [1] 36/4                  10/21 18/15 18/19 19/2
                        70802 [1] 2/6             14/19 16/5                Arkansas [1] 5/8                 23/18
200151 [1] 2/12
                        72201 [1] 5/11           agreement      [5]  10/15  arkansasag.gov          [1]     beginning     [1] 18/12
2019 [2]  22/8 24/4
                        725 [1] 6/3
                                                                                                                                                39


B      Case 1:20-cv-03010-APM
                    changes [2] 12/12Document  31
                                         36/3 36/11                           Filed 11/12/20
                                                                                         27/3 27/5 27/7 Page  34/2539 of 20/18
                                                                                                                          44 26/7 26/23 29/24
                          33/12                         confess     [1]    30/5          35/10 37/10                    discover    [1] 25/7
behavior [1] 28/18
                         check [1] 35/1                 CONNOLLY [1] 6/2                 dates [3] 27/2 35/3            discovery [32] 10/5
being [2] 7/18 18/10
                         check-ins [1] 35/1             consequences [1]                 36/17                           10/9 12/25 14/6 16/11
believe [6] 10/18 13/19
                         Chief [1] 2/9                   14/15                           day [1] 22/21                   16/19 16/25 17/1 17/16
 13/21 18/4 19/22 22/8
                         Chirag [1] 30/4                consider [2] 13/16               days [5] 16/22 17/14            18/11 18/12 18/13
best [1] 29/9
                         chris.lewis      [1]  4/7       33/24                           22/23 23/11 24/20               18/15 18/22 21/18
better [2] 19/10 27/14
                         Christian     [2]   4/2 7/10 consideration [1]                  deadline    [6]    8/14 8/15 21/19 21/23 22/2 22/16
bit [8] 8/13 9/14 17/22
                                         32/16           26/17                           9/2 15/6 19/15 21/2             22/16 22/18 22/20 24/9
 18/14 19/15 21/6 27/15 Circuit [1]
                         citations    [1]   32/1        considering         [1]   18/20 deadlines [3] 26/23              25/18 25/25 26/8 26/13
 33/22
                         civil [3]   7/4 23/8 25/11 Constitution [1] 6/13                27/9 27/13                      26/15 27/17 27/24
body [1] 14/5
                         civil-investigative       [1]  constraints        [1]   29/19 deal [2] 10/15 33/22              33/17 33/23
both [10] 15/10 22/5
                          23/8                          Consumer         [2]   2/10 5/3 debate [1] 27/25                discuss    [3] 8/2 12/23
 22/21 25/9 26/8 27/17
                         clean   [1]   15/3             contains      [1]    36/17       deBlieux    [2]    2/2 7/8      18/7
 29/24 32/15 32/16 34/2
                         clear [1] 28/25                contemplating [1]                deblieuxs [1] 2/7              discussed [4] 8/14
Box [3] 2/12 2/19 5/5
                         click  [1]   31/25              28/17                           December       [3]   8/11       31/1 32/7 36/18
breadth [1] 24/11
                         client  [2]   14/12 24/7       context    [3]     14/2 17/9     8/19 8/20                      discussing     [2] 9/8
Bret [2] 3/2 7/9
                         clients   [1]   24/2            17/12                           decision    [5]    8/23 8/25 31/3
Bret.Fulkerson [1] 3/7
                         close [2] 14/20 30/10 continue [2] 36/2                         11/18 19/16 31/11              discussion [3] 13/8
brief [3] 13/20 31/24
                         closely    [1]   33/11          36/13                           decisions     [1]   26/22       13/14 16/17
 31/24
                         code   [1]   25/17             CONTINUED            [5]  2/1    declarations       [2]  10/24 discussions [2] 13/2
briefed [1] 15/13
                         coded [2] 25/15 25/16 3/1 4/1 5/1 6/1                           23/9                            31/6
briefly [1] 26/12
                         cognizant      [1]   36/8      continuing        [1]   36/10 decorum [1] 34/7                  dismiss    [11] 8/16 9/5
briefs [5] 31/15 31/19
                         COLUMBIA          [2]  1/1     contours      [4]    10/13       deeper   [1]    13/21           9/12 9/19 9/19 9/20
 31/21 32/3 32/4
                          2/20                           12/23 15/8 23/21                defendant [13] 1/7 6/2 9/24 9/25 27/6 27/21
bring [1] 21/4
                         come    [9]   10/15 12/5       controls     [1]    14/13        8/8 12/1 13/4 13/5              27/22
brings [1] 14/3
                          20/24 21/12 23/17 32/1 conversation [1] 10/16 14/11 19/7 21/24 22/16 dispute [1] 14/24
broader [1] 13/22
                          33/17 36/6 36/14              corpus [1] 22/4                  22/25 26/14 32/11              disputes [3] 33/17
build [1] 23/20
                         comes     [1]   15/3           correct   [4]     8/19 20/8      defendants       [5]   7/14     33/19 33/23
Building [1] 2/19
                         coming [2] 8/25 27/9            20/8 37/3                       17/2 17/6 20/10 22/22 DISTRICT [3] 1/1 1/1
C                        commence [2] 16/25 correctly [1] 14/9                           defended [1] 25/23              1/10
CA [1] 1/21               17/16                         could   [8]    9/10    10/14     defending      [1]   19/1      Div  [1] 5/3
calculation [1] 8/20     commercially        [1]         15/6  17/2    21/16     29/9    defense    [7]    13/14        Division   [1] 2/5
calendar [1] 35/3         32/10                          29/11  36/9                     13/15   13/17     25/6  25/24  do  [28]  8/13  9/4 9/9
call [2] 27/11 33/19     commit      [3]  9/1   11/17   counsel     [12]      7/15  8/10 26/2  27/5                      11/3  11/5  11/21  11/24
came [1] 14/20            12/4                           9/8 12/22     13/14     13/15   defined   [1]    28/15          12/1  14/23  15/10  17/11
can [21]   8/12 8/22 9/2 Commonwealth            [1]     13/18  18/6     24/16     24/23 degree   [2]    18/16    34/10  17/13  17/13   18/4 19/15
 9/7 9/8 10/12 10/18      4/5                            25/24  26/1                     delay  [1]   18/10              20/1  20/2  20/14  20/23
 10/20 12/17 15/11       Commonweath [1] 4/2 counsel's [2] 19/19                         demand [1] 23/8                 23/3 23/16 26/18 27/11
 16/15 19/2 19/17 20/14  communicate          [1]  21/7  19/25                           Dennis   [1]    2/19            32/22 33/15 34/24
 26/8 26/19 26/20 27/15 communicating [1]               couple [6] 27/2 27/13 DEPARTMENT [6] 1/14 34/24 36/11
 27/23 31/24 36/6         33/4                           28/2 28/9 31/10 35/3            1/19 13/11 34/17 35/6 dock [1] 25/10
can't [4] 20/19 20/24    companies        [3]   13/5    course    [5]    13/20     17/2  35/19                          docket [2] 12/11 22/21
 24/20 24/22              14/14   31/1                   17/4  26/14     35/24           deposition      [1]   35/10    document [3] 17/3
candidly [2] 18/22       company [5] 13/5               court [14] 1/1 6/10              depositions [1] 10/24 21/10 21/10
 24/20                    16/13 30/11 30/12              6/12 12/4 20/6 21/16            Deputy [2] 3/10 5/15           documents [3] 10/22
Capital [1] 4/5           30/16                          21/17  26/4     29/12     32/12 describing      [1]  26/1       22/7 23/7
Capitol [1]   5/17       complaint      [11]    8/9      32/16  36/9     36/14     37/7  determinations         [1]     does   [5] 21/16 28/3
Carolina [2] 2/16 2/18    8/10  8/21   8/24    9/5 9/19 courtesy      [1]    34/11       32/17                           30/6  34/15  35/17
Carter [2] 5/8 7/11       9/21  10/1   28/13    28/15   Courthouse          [1]  6/12    did [2]  7/25    23/4          doesn't   [1]  35/14
case [41]                 28/22                         cousin   [1]     30/3            didn't [1]   31/16             doing   [3]  7/17  26/19
cases [1] 24/24          complete [1] 12/14             COVID [1] 37/6                   different [2] 8/14 13/22 32/4
caught [1] 26/16         computer [1] 6/16              COVID-19 [1] 37/6                differently [2] 11/5           don't [32] 9/16 11/9
Cecka [2] 5/14 7/10      computer-aided          [1]    Creighton       [2]    6/6  7/14 17/22                           11/10 11/17 14/23
Center [3] 3/12 4/5       6/16                          critical [1]     23/20           Dintzer  [11]     1/13   7/6    17/24 18/10 18/13
 5/10                    concerning [1] 30/25 CRR [2] 37/2 37/11                         10/17 13/10 15/21               19/21 20/1 21/22 24/1
certain [4] 17/10 19/22  concerns      [3]   13/21      curious    [1]     28/11         16/20   20/2    21/13   24/3    24/19 24/23 25/4 25/13
 22/14 25/15              29/23   31/13                 current   [1]     28/15          25/4  34/19                     25/22 29/12 29/12
certainly [16] 7/25 9/2  concluded       [1]   36/23    custodians        [1]   22/11    directed   [1]    28/10         29/13 29/25 30/6 30/17
 11/21 11/22 12/9 14/20  conclusion       [2]   12/5    CV  [1]  1/4                     disagreement        [1]   21/3  30/21 31/5 31/11 32/6
 14/25 18/10 19/8 19/17   12/5                                                           disclosing      [1]  26/24      32/23 32/24 33/19
                         concrete     [2]   29/10       D                                disclosure      [5]  19/12      33/23 35/4
 24/22 24/24 27/23
 28/24 31/20 34/11        29/13                         D.C [5] 1/5 1/15 6/3 6/8 19/14 22/3 27/7 31/9                   done [7] 9/11 10/18
certainty [1] 27/16      conducting [1] 18/21 6/14                                       disclosures [19] 9/10 17/12 24/22 31/2 31/8
                         confer    [1]   33/14          Dale  [2]   5/14 7/10            10/18 16/11 16/18               33/9
Certified [1] 6/11
                         conference       [4]   1/9     data  [2]   22/14 25/16          16/18   16/24     17/15        down    [5] 26/19 26/20
certify [1] 37/2
                          23/15 27/12 36/1              date [12] 8/20 11/19             17/23 17/24 18/1 18/17 28/20 31/10 32/25
chambers [3] 21/7
 33/4 33/19              conferences [3] 30/25 11/19 11/25 21/5 21/14 19/18 20/3 20/7 20/11 draw [1] 36/9
                                                                                                                                              40


D      Case 1:20-cv-03010-APM
                     36/12                          Document        31 Filed 11/12/20
                                                          26/18 33/11                   good [12] 7/2  Page      40 ofhelpful
                                                                                                            7/3 7/15     44 [5] 12/16 12/19
                         everyone        [5]   7/2 7/19 Foods [2] 10/12 34/9            8/17 13/11 13/12 24/11 15/4 31/15 31/23
Drive [1] 4/5
                          31/9 34/5 36/10                foregoing [1] 37/3             27/10 28/8 32/18 34/22 here [3] 13/21 14/21
due [1] 8/11
                         everything [3] 11/11            foreseeable [2] 36/4           35/22                           28/24
during [2] 26/14 37/5
                          17/9 32/19                      36/11                         Good morning [5] 7/2 here's [1] 19/5
E                        evidence [1] 19/12              form [3] 12/7 18/9 21/3 7/3 7/15 8/17 13/11                  Hi [1] 7/2
earlier [2] 12/16 18/24  evident      [1]   34/5         formal     [1]   16/19         GOOGLE       [17]    1/6  7/5 high [1] 34/3
early [9] 7/19 13/7 16/8 example [1] 19/21               format [1] 21/3                8/13 8/18 8/20 11/6           highest [1] 34/10
 16/15 16/18 25/18       exchange         [1]   16/19    formulating        [1]  18/15  15/15   22/8   25/14    27/20 highlight [1] 31/10
 26/21 32/7 33/5         exchanged          [4]   16/9   forward      [18]    9/6 10/4  28/7  30/5   30/7    30/14    him [1] 13/15
East [1]  30/14           16/24     20/12    21/4         11/2  17/17      19/1  19/7   30/15   34/20    35/22        his [2] 30/3 30/12
Eckrote [2] 5/14 7/12    exclusive       [1]   8/1        19/8  19/12      23/19  26/9  got [4]   15/1   22/8   27/8  hold   [1] 24/12
efficient [2] 12/18 26/9 excuse       [2]   19/18   27/7  27/10    27/23    32/2  33/16 35/3                          honestly    [1] 25/22
efficiently [1] 9/11     executive        [1]  30/10      33/25    35/2    36/16  36/18 gotten   [3]  23/1    24/4    Honor    [33]  8/17 8/25
either [7]  15/11 19/24  exercises        [1]  23/17     found     [2]   31/14   32/17  24/5                            10/12  11/14 12/2 12/7
 23/7 28/4 29/25 31/12   expand       [2]   28/17   29/8 four  [1]    30/16             government        [23]  3/12    13/11  15/14 15/20
 32/10                   expect      [3]   8/24   25/18  frame    [2]    15/11   15/22  10/16   10/21    11/9   12/22   16/21  17/21 20/5 20/10
electronic [2] 24/21      31/17                          Francisco       [1]   1/21     14/3  16/11    18/5   18/19     20/14  22/6 22/20  23/5
 31/24                   expectation [1] 34/2            Frankfort [1] 4/6              19/8 19/9 19/22 21/11 23/14 23/17 25/1 25/3
electronically [1]       expectations [1] 34/12 Franklin [2] 6/5 7/13                   21/14 23/6 23/12 25/23 25/14 26/12 28/6 28/7
 23/13                   expeditiously          [1]      frankly     [2]   23/22  33/20 28/6 28/10 28/12 28/16 28/19 29/10 34/18
elements [1] 16/7         18/25                          Friday     [2]   15/17   16/1  29/2 29/6                       34/21 35/7 35/8 35/20
Elizabeth [2] 1/18 7/6   experiences          [1]  26/14 friend    [1]   30/10          government's        [5]  9/22   36/22
Elizabeth.Jensen [1]     expressed         [1]   14/1    front  [1]    14/24            11/6  21/8   22/7    28/13    HONORABLE         [1] 1/10
 1/22                    extent     [6]    9/18  12/22   frubinstein       [1]  6/9     Greene    [3]   1/13   1/19   hope    [1] 7/16
else [7] 17/11 23/22      15/3 31/4 33/6 33/11           FTC [3] 13/19 14/9             7/7                           hopeful [1] 14/21
 28/3 34/15 34/15 34/18  extremely        [2]   31/15     34/9                          guess   [6]   9/14   14/22    horizon [1] 29/19
 34/20                    31/23                          Fulkerson        [2]  3/2 7/9  17/21   21/22    22/2   29/9  house [1] 18/9
Email [5] 1/16 1/22 6/4  eyes     [2]   19/19    19/25   full [2]    27/23    32/24                                   housekeeping [3] 8/5
                                                         full-steam [1] 27/23           H                               21/6 29/23
 6/9 6/9                 F                               Fuller   [1]    2/13           had [7] 7/24 10/16            how    [16] 7/21 12/17
employee [1] 30/5
                         fact [9] 13/19 16/24            fullest    [1]  19/1           13/13 14/10 16/17 28/9 13/3 14/1 17/16 18/21
encourage [2] 14/22
                          17/1 17/16 21/18 21/19 future [3] 10/19 21/20 29/1                                            20/3 20/25 21/6 23/18
 14/25
                          22/20 26/7 32/9                 36/4                          hand   [1]  21/22               24/1 32/4 32/13 33/22
end [1] 24/4
                         fair  [2]    21/21 29/15                                       handful    [1]   8/5            35/17 35/17
ended [1] 22/8                                           G
                         fairness      [1]   13/15                                      happy   [3]   12/6 13/20 hyperlink [1] 31/19
ends [1] 27/12
                         fall [1] 7/23                   GA [1] 5/17                    24/15                         hyperlinked [2] 31/14
engineer [1] 30/5
                         families      [1]   7/16        Gate   [1]    1/20             hard  [1]   32/25               32/4
enormous [1] 25/20
                         far  [2]   11/7 18/12           gathered       [4]  10/22      Hart [2]   5/2 7/10           hyperlinks    [2] 31/25
enough [2] 26/21
                         Farmer       [2]   4/3 7/11      18/19 24/2 24/3               hart.martin     [1]   5/6       32/3
 29/13
                         fashion [2] 21/1 36/13 general [16] 2/3 2/4                    Hartner [2] 2/16 7/8
entire [2] 9/25 22/22
                         fast   [1]   32/25               2/11 2/16 2/17 3/4 3/10 has [14] 8/8 11/6 13/8 I
entirely [1] 15/2
                         Federal [3] 25/11 25/21 3/11 4/4 5/4 5/8 5/9                   14/4 16/13 18/19 19/9 I am [3] 26/13 30/7
entirety [1] 9/20
                          28/20                           5/15 5/16 21/17 29/4          21/11 23/12 29/6 31/4 36/8
entitled [1] 13/6
                         feel   [2]   14/23 29/10        Georgia      [2]   5/14 5/16 31/5 31/8 34/17                 I assume [6] 8/10 11/5
entity [3] 14/4 14/4
                         few    [3]   26/22 27/12        get  [24]    7/19 7/20 7/21 have [56]                          16/12 16/14 21/9 23/14
 14/8
                          36/19                           9/6 10/10 12/4 12/16          haven't   [3]   16/21 21/24 I believe [2] 10/18 22/8
entry [3] 16/23 17/14
 17/25                   Fifth [1] 3/13                   12/18 15/25 18/4 18/17 22/12                                I can [2] 8/22 9/2
                         file  [9]   9/23 11/12           20/23 22/22 23/22             having   [3]   9/9 25/24      I can't [1] 20/19
envision [3] 7/22 21/17
                          12/10 21/9 21/11 21/15 24/10 24/10 25/13 26/6 31/14                                         I don't [1] 11/10
 25/22
                          22/22 23/6 33/13                26/7 26/16 27/4 27/10 he [6] 30/6 30/7 30/13 I don't have [2] 18/13
envisioned [1] 25/10
                         filing [1] 32/8                  27/21 36/17                   30/13 30/15 30/16               29/13
envisioning [2] 9/18
                         filings    [1]    31/13         get-go     [1]   20/23         He was    [1]   30/15         I  don't think [6] 17/24
 25/19
                         final    [4]  8/23 16/5         getting     [2]   24/12 36/19 he's [4] 30/5 30/7               29/25 30/21 32/23
envisions [1] 28/12
                          29/22 34/1                     give [1] 25/17                 30/11 30/18                     33/19 33/23
Erica [2] 3/9 7/10
                         finalize     [1]   8/24         given    [1]   33/20           head   [3]  7/22 30/14        I  guess [4] 14/22 21/22
Erica Sullivan [1] 7/10
                         Finally     [1]   30/21         giving    [1]   9/1            30/15                           22/2 29/9
Erica.Sullivan [1] 3/15
                         findings [1] 11/10              gmail.com [1] 6/15             headed [1] 27/16              I have [6] 13/1 14/1
estimate [1] 23/24
                         fine [2] 12/8 35/15             go [6] 15/21 18/21             health [1] 36/12                24/8 27/14 30/3 31/6
estimated [1] 24/16
                         fire [1] 17/10                   20/23 23/16 25/4 32/4 healthy [1] 7/17                      I hope [1] 7/16
et [2] 1/3 7/5
                         firm [1] 31/11                  Go ahead [1] 15/21             hear [1] 27/20                I just [1] 28/9
evenly [1] 20/12
                         first   [8]   8/3 8/7 21/10 going [16] 8/23 10/25 heard [2] 14/18 25/3                       I know [1] 24/1
ever [1] 26/3
                          28/11 29/23 30/3 30/3 12/13 12/20 15/9 15/13 hearing [4] 23/9 36/9 I mean [4] 13/25 17/2
every [3] 21/10 25/24
                          31/13                           16/7 21/10 22/5 23/14 36/16 37/5                              23/6 29/16
 26/2
                         five   [1]   30/16               23/19 23/24 26/9 27/20 Helena [1] 2/14                      I  recognize [1] 34/3
everybody [8] 7/17
                         Floor     [3]   2/13 3/13 6/7 33/20 35/2                       Heleringer     [2]   4/3 7/11 I should [1] 8/9
 14/19 30/1 30/19 33/3
 34/6 35/18 36/19        folks [1] 33/10                 Golden [1] 1/20                help [4] 8/12 9/13 14/6 I think [25] 8/19 9/6
                         following       [3]   20/1      gone    [1]    24/5            27/17                           9/10 10/10 10/14 12/10
everybody's [2] 35/4
                                                                                                                                  41


I     Case 1:20-cv-03010-APM         Document
                   intend [5] 8/15 8/15         31[4] 9/24
                                         juncture      Filed  11/12/20
                                                           19/22 limitations Page
                                                                             [1] 37/741 of 11/5
                                                                                            44 12/8 12/21 14/24
                           11/21 12/17 27/20              28/12 29/6              line [1] 14/20             19/18 20/2 20/16 20/23
I think... [19] 12/15
                          intending [1] 27/22            just [34] 12/10 17/5     links [1] 31/22            20/24 21/13 21/23 27/4
 13/25 14/13 14/19 15/4
                          intends [2] 8/13 12/1           20/5 20/24 21/4 22/15 list [3] 23/23 23/23         27/7 28/16 29/14 29/17
 18/1 18/3 20/23 21/13
                          intention [2] 28/14             23/23 25/6 26/4 26/12 24/13                        30/19 31/5 31/15 31/20
 26/9 26/21 27/11 30/13
                           28/21                          26/16 26/20 26/25       listener [1] 31/2          34/24 36/10
 30/16 32/2 33/2 34/23
                          interest   [2]   22/5 36/12 27/24 28/9 28/25 29/16 litigate [2] 16/8 18/7          mean   [8] 7/25 13/25
 34/25 35/1
                          interested     [2]   22/3       29/22 29/24 31/10       litigated    [3] 13/7 15/9 17/2 21/22 23/6 25/8
I thought [1] 7/19
                           27/19                          31/18 31/23 32/2 32/18 15/13                       29/16 35/12
I told [1] 13/15
                          interests    [2]  32/17         32/21 33/3 33/5 33/18 litigation [6] 8/4 9/7       mechanical    [1] 6/16
I understand [5] 8/8
                           36/12                          34/1 34/2 34/6 34/23     10/13 11/2 11/8 17/6      meckrote    [1] 5/18
 17/8 19/9 20/6 29/19
                          interim  [2]    9/9 18/4        35/2 36/5               little  [10]  5/11 8/13    meeting   [1]  35/7
I want [3] 18/19 28/25
 30/1                     intervene [2] 29/3 29/7 JUSTICE [6] 1/14 1/19 9/14 17/22 18/14 19/15 MEHTA [2] 1/10 30/4
                          investigating [1] 19/10 13/11 34/17 35/6 35/19 21/6 27/15 33/22 35/16 memory [1] 27/3
I wanted [3] 8/3 30/8
 31/9                     investigation [4] 10/24                                 live [2] 14/5 34/12        mentioned [1] 18/24
                           21/25 24/8 26/15              K                        LLC    [2]  1/6 7/5        merger [1] 17/9
I will [8] 12/6 20/16
                          investigational       [1]      Kelsey [2] 3/3 7/9       LLP    [1]  6/2            Merit [1] 6/11
 30/5 31/18 32/13 34/6
                           23/9                          Kelsey Paine [1] 7/9     Local    [1]  33/15        mid [1] 8/11
 34/8 35/10
                          investigations       [1]  31/1 Kelsey.Paine [1] 3/7     long    [1]  27/1          mid-December [1]
I would [3] 17/23 23/22
                          investigative      [9]  10/21 Kenneth [5] 1/13 7/6 longer [1] 19/11                8/11
 23/23
                           11/7 11/12 16/14 21/9 13/10 15/19 16/20                look    [14]  11/17 13/25 might [4] 9/18 20/20
I'd [4] 11/22 15/6 16/3
                           21/11 21/15 22/7 23/8 kenneth.dintzer2 [1]              14/22 15/25 19/1 19/7 28/17 31/8
 24/13
                          investigatory       [1]  18/5 1/17                       20/18 21/9 21/21 29/18 mind [2] 29/17 33/24
I'll [1] 33/5
                          involve   [2]   31/16 31/21 Kentucky [3] 4/2 4/5         35/17 36/2 36/16 36/18 mindful [4] 31/18
I'm [17] 7/12 10/11                                       4/6
                          involves    [1]   31/22                                 looked     [1] 13/16       32/13 33/3 34/6
 14/20 15/19 20/19 22/2
                          is  [83]                       kick [3] 17/5 24/9       lot  [3]  13/2 24/2 24/6 mine [1] 30/10
 24/15 24/22 26/16
                                         9/1 13/8         26/19                   Louisiana [3] 2/2 2/4 minimum [1] 22/9
 26/19 27/1 27/19 28/11 issue [17]
                           13/14 14/1 14/2 15/7          kicking [1] 26/20         2/6                       Minute [1] 36/17
 30/24 32/9 32/23 36/5
                           15/13 17/3 20/22 26/17 Kim [2] 3/3 7/9                                            Mississippi [3] 5/2 5/4
I'm just [1] 26/16
                           26/25 28/1 30/21 31/12 Kim.VanWinkle [1] 3/8 M                                    5/5
I'm not [2] 26/19 27/1
                           33/3 34/1 34/2                kind [2] 7/24 19/24      made [4] 8/23 9/10         misusing [1] 14/16
I'm sorry [2] 7/12                                                                 18/1 18/8
                          issues [12] 10/3 20/17 know [41]                                                   mmattioli [1] 2/14
 15/19
                           20/20 20/21 20/23             knowledge [1] 20/22 magnitude [1] 25/9              moment [1] 11/10
I'm sure [1] 10/11
                           29/23 30/18 30/25 31/5 ky.gov [3] 4/7 4/8 4/8 make [12] 16/12 20/5 Montana [2] 2/9 2/12
I've [9] 10/16 14/2                                                                21/19 24/25 26/22
                           31/7 31/7 31/10                                                                   months [1] 33/5
 24/24 24/24 26/2 30/22
                          it [41]                        L                         29/20 29/24 30/1 30/19 more [7] 12/11 22/1
 30/24 31/1 31/3                                         last [6] 14/18 30/4
                          it would be [3] 7/19                                     31/9 31/13 33/14          27/15 27/15 31/2 31/17
identifications [1]                                       30/13 30/23 34/23
                           9/25 12/16                                             making [3] 20/11 26/23 32/3
 20/21                                                    34/24
                          it's [12] 14/19 16/13                                    32/17                     morning [12] 7/2 7/3
identify [1] 22/12                                       later [1] 16/16
                           19/12 24/2 24/21 25/6                                  manner [1] 12/18           7/15 7/18 8/2 8/17
identity [1] 19/23
                           28/13 28/15 30/11 32/1 law [2] 31/21 32/15             many [2] 30/11 31/16       13/11 13/12 34/15
imagine [1] 9/23                                         law.georgia.gov [1]
                           33/23 34/11                                            Margaret [2] 5/14 7/12 34/16 36/16 36/18
impact [2] 18/21 18/23
                          its [4] 9/20 11/10 21/11 5/18                           Mark [3] 2/9 7/8 7/14      most [2] 22/3 26/9
impacted [1] 18/16                                       lawyers [5] 14/6 14/7 Mark Popofsky [1]
                           33/20                                                                             motion   [9] 9/19 9/20
importance [1] 34/7                                       18/9 34/8 36/6           7/14
                14/1 33/2 itself [1] 21/19                                                                   9/24 9/25 10/7 12/13
important [2]                                            lay [1] 32/25            Martin [2] 5/2 7/10        12/14 33/9 33/13
inclined [1] 36/5         J                              lead [1] 11/7            material [20] 11/7 13/2 move [18] 8/16 8/23
incredibly [1] 32/2                                      lead-up [1] 11/7
                          Jackson [1] 5/5                                          13/3 13/6 14/11 14/15 9/5 9/11 9/18 11/18
India [1] 30/15                                          least [9] 14/2 15/7 16/6 14/16 16/9 16/13 18/8 18/25 19/7 19/8 19/11
                          Jensen [2] 1/18 7/6
Indiana [3] 3/9 3/11                                      20/20 27/2 27/10 27/13 18/11 18/20 19/2 22/4 23/18 27/6 27/21 27/22
                          Jesús [2] 1/14 7/7
 3/12
                          Jesús Alvarado-Rivera 28/14 30/14                        23/12 23/19 23/25 24/8 27/23 32/2 33/16 33/24
Indianapolis [1] 3/14                                    leave [1] 20/16
                           [2] 1/14 7/7                                            24/11 24/12               moving [4] 9/6 11/2
indicate [1] 27/5
                          John [6] 6/2 7/13 8/18 left [3] 30/12 30/13             materials [10] 10/22       11/22 27/10
indicates [1] 16/1         15/14 35/8 35/21               30/16                    10/25 18/5 18/18 22/25 Mr. [16] 8/12 9/14
indication [3] 9/1
                          John Schmidtlein [1] let [10] 11/5 11/20                 23/10 26/8 32/6 32/8      10/17 11/16 12/23
 27/22 29/6                                               12/15 12/21 20/2 20/16 32/25
                           8/18                                                                              15/21 17/19 19/6 20/2
influence [1] 10/25
                          Johnathan [2] 5/8 7/11 20/24 26/21 31/5 34/24 matter [5] 13/9 28/14                21/13 23/3 24/3 25/4
information [13] 13/17                                   let's [14] 8/7 16/10      29/5 34/4 37/4
                          johnathan.carter [1]                                                               34/19 35/12 35/15
 15/2 23/24 24/4 24/5                                     19/16 20/1 21/8 23/3
                           5/12                                                   matters [8] 8/1 8/6 9/7 Mr. Dintzer [7] 10/17
 24/6 24/15 24/17 24/19                                   26/6 26/6 26/7 26/7
                          Joint [1] 15/25                                          10/3 10/4 10/6 10/8       15/21 20/2 21/13 24/3
 25/15 25/25 32/11
                          Jonathan [2] 4/3 7/11 26/18 26/25 27/24                  35/13                     25/4 34/19
 32/12                                                    34/24
                          jonathane.farmer [1]                                    Mattioli [2] 2/9 7/8       Mr. Schmidtlein [9]
initial [15] 10/18 16/10 4/8                             Lewis [2] 4/2 7/10       may [13] 22/1 22/1         8/12 9/14 11/16 12/23
 16/17 16/23 17/23                                       like [16] 9/1 10/4 12/7 22/12 23/5 25/3 28/4
                          jschmidtlein [1] 6/4                                                               17/19 19/6 23/3 35/12
 17/24 18/1 18/17 19/14                                   14/23 15/6 16/3 16/15 29/3 29/7 29/7 29/18
                          judge [2] 1/10 31/23                                                               35/15
 19/18 20/2 20/18 26/7                                    16/19 18/1 21/7 23/22 30/22 31/17 32/9
                          judgment [2] 12/14                                                                 MT  [1] 2/14
 27/7 28/4                                                23/23 24/13 25/12
                           12/15                                                  maybe [1] 9/16             mt.gov   [1] 2/14
ins [1] 35/1                                              29/18 33/7
                          judicial [1] 30/22                                      me [25] 7/20 8/12 9/13 much [2] 24/1 32/13
insight [2] 23/25 24/10
                                                                                                                                     42


M     Case 1:20-cv-03010-APM        Document
                   obtained [1] 21/24   P    31                       Filed 11/12/20         Page 42 of 29/14
                                                                                points [1] 32/10                44
                        obvious      [1]  22/4                                  Popofsky    [1]    7/14       provided    [4] 24/14
my [13] 15/3 19/5 21/5                                P.O [3] 2/12 2/19 5/5
                        obviously [8] 11/17                                     portion [3] 9/20 9/21          25/14 25/15 25/16
24/2 24/7 26/1 27/3                                   packed [1] 35/16
                        12/12 13/25 16/13                                       11/12                         providing [3] 13/17
28/1 33/17 34/11 34/14                                Paine [2] 3/3 7/9
                        27/19 30/24 31/21                                       position [7] 19/11             25/20 25/21
35/16 35/23                                           pandemic [1] 37/6
                        33/14                                                   20/19 21/15 25/1 31/4 public [6] 2/5 29/14
myself [1] 14/1                                       panels [1] 31/3
                        occasions [1] 25/23                                     31/7 32/23                     32/16 33/10 33/21 36/9
                                                      parameters [1] 16/6
N                       occurred [1] 37/5
                                                      part [7] 10/23 17/1
                                                                                possibility   [1]   10/2      publicly  [1] 29/11
name [4] 30/3 30/4      occurrence       [1]  26/2                              possible   [6]   10/5   10/9  pursuant    [1] 23/7
                                                      19/10 21/17 22/18 24/7
30/12 30/13             October      [2]  1/5  11/24                            12/18  18/20    19/3   20/21  put  [10]  9/2  9/7 10/5
                                                      26/3
nature [3] 19/19 24/25  off [4]   17/5   24/9  24/12                            possibly   [1]   10/14         10/8  11/5  14/13  14/17
                                                      partial [1] 12/13
33/21                   25/24                                                   postpone    [1]    24/12       26/25  27/24   32/12
                                                      participate [1] 31/2
near [1] 10/19          Office [10] 2/3 2/10                                    potential [2] 19/23           puts [1] 8/11
                                                      participated [1] 31/6
necessarily [2] 28/24   2/11   2/17    3/4 3/10  4/4                            20/20
                                                      particular [5] 12/24                                    Q
32/8                    5/3 5/9 5/15                                            potentially [2] 9/20
                                                      13/4 27/19 30/6 33/6
                        Official [1] 6/12                                       18/7                          question [5] 13/4 18/7
necessary [1] 17/3                                    particularly [3] 7/20
                        Oh  [1]   35/24                                         preclusive    [1]   28/25      21/13 21/21 29/1
necessitate [1] 32/3                                  16/9 16/12
                        okay   [22]    7/15  9/17                               preliminary    [2]   10/16    questions     [5] 9/15
need [13] 15/9 15/13                                  parties [23] 7/21 7/25
                        11/4   11/15    13/24   15/18                           13/13                          28/2 28/9 28/10 29/16
16/4 17/24 20/24 24/10                                10/10 10/23 14/23
24/10 26/9 29/24 31/11 15/24 17/18 19/4 20/9 14/25 16/1 16/18 18/7 prepared [5] 11/20                         quick [1] 27/9
33/23 36/3 36/7         20/15    21/1   21/7  22/10                             16/12  18/5   19/7    23/15   quickly [2] 10/11 17/14
                                                      18/13 23/8 23/23 24/14
                        23/2   25/2    26/11  28/23                             pressing   [1]   36/14        quite [1] 25/22
needs [2] 32/14 34/3                                  26/8 29/23 29/25 30/8
nevertheless [1] 16/5   29/15    29/21    34/22                                 presumably      [1]   17/3
                        36/15
                                                      32/12 32/18 33/8 33/19
                                                                                pretty [3] 14/13 14/16
                                                                                                              R
new [1] 7/23                                          34/8 34/12
                        once [2] 14/17 34/24                                    32/18                         raise [9] 7/24 8/5 22/20
next [4] 15/17 16/1                                   party [13] 12/25 13/2                                    28/3 28/4 29/22 33/19
24/14 28/1              one  [10]     9/16  20/22                               private [1]   32/17
                                                      13/3 14/11 16/9 18/8                                     34/1 34/15
no [12] 1/4 15/21 20/19 22/21    25/12    25/14                                 probably   [4]    17/7
                                                      18/18 18/22 19/23                                       raised [1] 13/19
21/12 23/5 23/10 23/13  29/10    30/9   32/5  34/11                             23/14  30/16    31/19
                                                      19/23 22/16 22/18                                       raises [1] 9/14
23/25 24/8 24/11 25/9 34/23                           32/11                     problem [2] 18/13
                        only  [5]    9/21  18/6                                 24/21                         ramifications [1] 13/17
28/21                                                 passed [1] 27/13
                        19/19    19/25    24/3                                  procedure    [2]    25/11     Rao [1] 30/13
nobody [2] 14/20 34/3                                 pattern [1] 17/10
                        open   [3]    21/20   26/7                              33/18                         rather [2] 16/15 17/8
normal [3] 17/4 17/13                                 pause [4] 18/14 26/25
                        26/7                                                    procedures [1]        33/17   reached [2] 15/12 16/4
26/2                                                  27/1 27/24
                        opening      [1]  21/18                                 proceed   [5]   10/4    12/17 reaction [2] 17/20 19/5
North [1] 2/5                                         people [2] 14/14 36/8
                        opposed       [1]  12/14                                21/1  26/5  36/13             ready [2] 18/25 19/8
not [34] 7/25 8/22                                    perhaps [3] 19/14
                        order   [19]    10/11   10/14                           proceedings       [4]  1/9    real [1] 14/23
11/10 14/10 14/12 15/2                                27/15 31/20
                        12/21    12/24    12/24  15/8                           6/16  36/23   37/4            really [3] 14/18 25/9
16/4 17/11 19/11 19/16                                period [1] 18/4
                        15/9   16/2    16/4  16/7                               process   [4]   10/20    19/3  34/1
19/25 21/20 22/15                                     periodic [2] 35/1 35/1
                        16/23    17/15    17/25                                 25/19  25/25                  Realtime [1] 6/11
22/25 23/10 23/11                                     periodically [1] 30/8
                        19/17 19/18 20/17 26/6                                  produce [2] 23/24             reason [8] 23/6 23/10
25/17 25/20 25/24                                     periods [1] 11/1
                        27/4   36/17                                            24/20                          23/13 24/11 24/19
26/13 26/19 27/1 27/21                                permitted [1] 14/15
                        orderly    [1]   26/5                                   produced    [4]    6/16        24/22 25/10 36/14
27/22 28/6 28/7 31/3                                  personal [1] 29/24
                        orders    [1]   9/9                                     10/23  23/7   23/11           reasonable [5] 11/25
31/5 31/6 31/20 33/1                                  persons [1] 20/22
                        ordinary [1] 33/18                                      producing [2] 10/21            12/9 15/10 20/4 21/14
34/1 35/2 36/5                                        Philip [2] 4/3 7/11
                        other   [13]    9/7 9/9  10/3                           21/15                         Rebecca [2] 2/16 7/8
note [1] 37/5                                         philipr.heleringer [1]
                        10/3 16/11 16/18 21/22                                  product [1] 30/6              Rebecca Hartner [1]
nothing [7] 11/13                                     4/8                                                      7/8
23/22 28/24 29/10 31/2  22/7   24/11    24/21   29/11                           production     [2]   18/11
                                                      physically [1] 36/14                                    recall [1] 10/12
34/18 34/20             33/14    35/13                                          21/17
                                                      place [7] 9/7 10/5 10/6
notice [2] 12/10 12/10 others [2] 17/7 24/9           10/9 14/18 26/6 27/2      productions [1] 24/25 received [6] 11/6 11/12
                        ought    [5]   14/24   15/4                             professionalism [2]            11/13 22/13 24/7 24/9
November [10] 12/3                                    placed [2] 32/14 32/21                                  recognize    [1] 34/3
15/17 18/2 20/3 20/13 19/8 19/11 26/21                placing [1] 32/19
                                                                                34/7 34/10
                        our  [11]    8/20  16/22                                progression      [1]   17/13  recommend [1] 15/16
27/3 27/7 27/8 35/5                                   Plaintiff [9] 2/2 2/8
                        17/5 18/15 18/15 22/19                                                    17/20       reconvene [1] 34/25
37/10                                                 2/15 3/2 3/9 4/2 5/2 5/7 proposal [1]                   record [5] 31/22 31/25
November 6th [1] 27/3   22/22    23/16    23/19  25/1                           propose   [2]   17/17
                                                      5/13                                                     31/25 32/5 37/3
now [11] 16/10 22/1     26/7                                                    17/24
                                                      plaintiffs [7] 1/4 1/13                                 recorded [1] 6/16
26/25 27/1 27/25 28/16  ourselves      [1]  17/6                                prosecute    [1]    28/14
                                                      7/12 12/6 17/2 18/17
31/15 32/7 33/24 35/4 out [4] 22/4 22/24              29/5                      Protection [3] 2/5 2/10 reflexively [1] 32/19
                        31/16    36/17                                          5/3                           refresh [1] 22/9
35/17                                                 plaintiffs' [2] 9/8 24/23
                        outcome [1]        13/22                                protections [1]       14/17   regard [2] 10/17 34/10
number [7] 9/7 9/15                                   plan [1] 18/16
                        outside     [3]  14/7   18/6                            protective   [19]    9/9      regarding [1] 33/17
13/1 14/14 25/23 30/15                                play [1] 14/19
                        24/16                                                   10/11  10/14    12/21         regardless [1] 9/4
36/8                                                  pleading [1] 11/19
NW [4] 1/15 6/3 6/7     outside-counsel [1]                                     12/24 12/24 15/8 15/8 Registered [1] 6/11
                                                      pleadings [1] 31/16                                     related [3] 10/6 10/9
6/13                    24/16                                                   16/2 16/4 16/6 16/23
                                                      please [3] 33/13 34/6                                    20/17
                        outside-counsel-only                                    17/15 17/25 19/16
                                                      37/5
O                       [1] 18/6                                                19/17 20/17 26/6 27/4 relates [1] 12/25
                                                      plus [1] 30/24
oag.texas.gov [3] 3/7 over [6] 13/16 14/13                                      protective-order-relate relationship [1] 30/20
                                                      point [7] 19/25 22/3                                    relatively [1] 10/19
                        16/13    16/15    17/10                                       20/17
3/7 3/8                                               27/18 28/5 32/24 33/2 d [1]                             relevant [3] 11/2 30/18
obtain [1] 22/15        29/18                                                   provide  [3]   17/5    28/20
                                                      36/5
                                                                                                                                43


R     Case 1:20-cv-03010-APM
                   S                         Document   3115/10
                                                 sides [6]    Filed
                                                                22/5 11/12/20
                                                                        27/12 35/25Page
                                                                                    36/3 43 ofthank
                                                                                               44 you [7] 7/18
                                                  22/21 27/17 32/15 34/2 steam [1] 27/23                  34/18 34/19 34/21
relevant... [1] 31/8    S-h-a-i-l-e-s-h [1]
                                                 signal [1] 12/16             stenography [1] 6/16 35/22 36/15 36/22
relief [3] 33/8 33/13    30/12
                                                 significance [1] 34/4 steps [2] 17/17 25/10 that [211]
 33/13                  safe [1] 7/16
                                                 significant [6] 22/17        still [1] 28/17            that'll [2] 21/12 27/16
Rembert [1] 2/19        safety [2] 36/10 36/12
                                                  25/8 25/16 30/1 31/21 Street [5] 1/15 2/18             that's [26] 9/17 9/17
remember [1] 14/9       said [7] 11/3 14/2 15/1
                                                  31/22                        3/13 5/10 6/7              10/2 12/8 12/19 14/12
reminded [1] 34/4        16/10 16/19 20/18
                                                 simple    [1]   12/10        strict  [1]  14/13          15/4 19/20 20/4 20/22
remotely [1] 37/7        20/20
                                                 simply    [2]   17/11 32/18 strikes [1] 20/22            21/4 21/21 22/4 22/5
report [5] 9/2 15/11    sake [1] 26/20
                                                 since   [2]   30/11 32/24 structuring [2] 17/17          25/1 25/17 25/25 26/5
 15/16 16/1 23/16       same [5] 13/18 14/21
                                                 single   [1]   26/2           27/24                      26/9 27/3 27/9 28/16
Reporter [4] 6/10 6/11 20/11 30/4 32/22
                                                 size  [1]   25/9             subject    [2]  19/19 37/6 29/15 30/17 32/5 35/15
 6/11 6/12              San [1] 1/21
                                                 Skjelborg [1] 1/18           submit [2] 26/16 31/19 their [1] 11/12
reporting [1] 37/7      Sandrock [2] 1/18 7/7
                                                 slate  [1]   15/3            substantive [1] 31/20 them [7] 10/23 22/23
representations [1]     say [8] 8/9 15/11 26/4
                                                 slight  [1]   18/14          succession [1] 27/9         25/13 25/20 30/2 31/2
 29/21                   28/24 29/9 29/12 35/5
                                                 so  [57]                     successive      [1] 27/8    31/20
representative [1]       35/18
                                                 So  I think   [1]   33/21    such   [1]   13/6          then  [26] 7/25 8/4 8/4
 30/23                  saying [1] 17/14
                                                 So  what    [1]   26/1       sufficient    [1] 12/11     9/17 10/2 11/16 11/17
representing [2] 14/7 says [1] 24/3
 14/7                                            solution [1] 14/21           suggested [1] 14/10         12/15 12/21 15/25 19/7
                        SC [1] 2/20
                                                 some    [26]    10/3 10/3    suggesting      [1] 27/1    21/8 22/14 22/21 22/22
request [6] 12/3 21/10 scag.gov [1] 2/21
                                                  10/13 14/4 15/1 16/5        Suite   [3]  1/20 4/6 5/10 22/24 24/18 24/22 26/6
 22/22 24/13 29/3 33/6 schedule [10] 7/22 8/3
                                                  18/8 18/9 18/16 20/21 Sullivan [2] 3/9 7/10             26/8 27/6 27/14 27/23
requesting [1] 33/13     18/23 23/14 23/18 25/1
                                                  20/24 21/3 21/20 22/1 summary [2] 12/13                 28/9 29/2 36/18
requests [7] 16/19       27/17 28/3 35/16 35/23
                                                  23/24 24/5 24/21 25/15 12/14                           theories   [2] 9/22 28/18
 17/4 17/6 28/4 33/8    scheduling [3] 8/7
                                                  26/22 27/16 27/17           summer      [1]  24/6      there  [22]  10/12 13/2
 33/12 33/12             11/1 33/7
                                                  27/21 28/17 29/5 29/23 supplied [1] 11/11               13/8 16/7 16/14 18/10
require [3] 11/17 32/8 Schmidtlein [15] 6/2
                                                  31/17                       sure [6] 10/11 20/5         20/17 20/20 22/1 22/1
 36/5                    7/13 8/12 8/18 9/14
                                                 somebody        [1]  25/22    25/4 30/1 30/19 33/14 22/4 23/10 23/13 24/11
required [2] 19/20       11/16 12/23 15/15
 33/15                   17/19 19/6 23/3 35/9    somehow [1] 12/13            surely [1] 26/13            25/12 29/3 29/4 29/7
                                                 someone       [2]  14/5 30/7 surprise [1] 21/12          30/5 32/9 32/15 33/11
requires [1] 32/16       35/12 35/15 35/21
                                                 something [10] 13/6          Susan [2] 6/6 7/14         there's [10] 11/19
reservations [1] 13/18 scope [8] 8/4 10/13
                                                  14/12 19/19 20/3 21/4 SW [1] 5/17                       17/10 17/11 21/2 22/14
resolution [1] 15/1      28/2 28/9 28/15 29/8
                                                  23/4 25/17 26/5 32/21 Sysco [9] 10/12 13/1              23/5 24/21 25/9 33/6
resolve [1] 16/8         32/24 33/21
                                                  33/24                        13/19 13/23 14/2 31/14 36/13
respect [5] 15/7 20/18 screen [1] 32/1
                                                 SONSINI [1] 6/6               32/18 34/8 34/9           therefore [2] 8/9 37/6
 20/21 25/8 33/7        screighton [1] 6/9
                                                 soon   [2]   18/20 19/3                                 these   [12] 27/13 28/10
respectfully [4] 12/2   seal [5] 32/14 32/19
                                                 sooner     [2]  16/15 23/11 T                            29/16 29/25 30/25 31/4
 22/6 24/13 26/16        32/21 33/1 33/2
                                                 sorry [2] 7/12 15/19         take [4] 15/4 16/22         31/12 31/12 33/5 34/25
respond [2] 8/21 17/4 sealed [2] 32/6 32/8                                     18/6 24/15
                                                 sort  [12]   9/6 10/14                                   36/3 36/11
response [1] 9/14       sealing [1] 32/17
                                                  12/17 17/12 17/16           taken [1] 31/4             they  [13] 11/11 13/22
responsive [1] 11/19 second [1] 32/1
                                                  21/18 22/4 25/10 28/1 taking [2] 31/7 31/7              22/8 24/1 24/4 24/6
restricted [1] 18/9     secondarily [1] 29/2
                                                  28/2 28/11 28/19            talk [9] 8/3 8/4 8/7        24/7 24/19 25/15 25/16
review [3] 13/6 14/5    secrets [1] 32/11                                      16/10 19/17 21/5 21/8 26/9 27/22 32/20
                                                 South    [3]   2/16 2/18
 14/15                  section [1] 30/23
                                                  3/12                         27/15 32/3                they're [4] 23/24 25/19
reviewing [1] 18/20     see [6] 7/21 11/1 15/7
                                                 speak    [1]   29/11         talking [3] 10/20 20/6 25/20 27/20
revisit [1] 25/18        18/10 24/19  32/7
                                                 specific [4] 13/14 33/7 22/15                           they've [4] 24/2 24/3
rhartner [1] 2/21       seek [4] 22/25 26/8
                                                  33/12 33/12                 tech [1] 31/1               24/4 24/8
right [14] 12/19 15/25 29/7 29/8
                                                 Specifically     [1]  10/10 technological [1] 37/7 thing [5] 19/24 26/10
 20/7 20/10 27/1 28/8   seeking [2] 21/23 33/8
                                                                 5/17         TELECONFERENCE              29/22 34/23 34/24
 28/16 32/7 34/14 34/19 seems [2] 36/9 36/10 Square [1]
                                                 St [2]   2/5 6/3              [1] 1/9                   things   [15] 7/24 11/22
 35/4 35/14 35/16 36/20 sense [2] 19/6 27/14
                                                 Stacie   [2]   2/2 7/8       telephonically [3] 36/3 12/18 12/20 16/2 17/10
rights [1] 28/20        sensitive [2] 32/9
                                                 Stacie deBlieux [1] 7/8 36/7 36/11                       22/7 25/12 25/14 26/22
Rivera [2] 1/14 7/7      32/20
                                                 staggering      [1]  18/14 tell [3] 8/22 21/23 34/8 27/10 27/14 27/16
RMR [2] 37/2 37/11      serves [1] 27/3
                                                 stakes [1] 34/3              tend [1] 19/6               28/11 29/17
road [4] 26/20 26/20    service [3] 8/8 8/9 8/11
                                                 stand   [4]   13/9 15/7      tends [1] 27/6             think  [45]
 28/20 31/11            serving [1] 18/12
                                                  16/2 27/14                  term [1] 30/24             thinking   [3] 12/12
Rock [1] 5/11           set [7] 15/6 21/2 22/24
                                                 standard     [1]   34/13     terms [13] 8/13 11/16 23/18 29/17
Room [1] 6/13            27/12 27/17 34/2 34/25
                                                                               11/22 12/21 17/23 18/3 third [17] 2/5 10/23
                                                 start [3] 12/19 21/15
Rouge [1] 2/6           setting [1] 35/1                                       21/6 26/23 27/4 29/17 12/25 13/2 13/3 14/11
                                                  35/2
Rubinstein [2] 6/5 7/13 settle [1] 26/22
                                                 started [2] 12/18 27/10 29/20 32/6 33/4                  16/9 18/8 18/18 18/22
rule [5] 16/23 17/15    severe [1] 14/16
                                                 starts [1] 25/24             terribly [1] 29/25          19/23 19/23 22/16
 20/7 22/23 23/15       Shailesh [1] 30/12
                                                 State [15] 2/2 2/4 2/9 terrific [1] 34/10                22/18 23/8 32/11 33/4
Rule 26 [3] 16/23 17/15 share [1] 14/11
                                                  2/12 2/16 2/18 3/2 3/5 Texas [3] 3/2 3/5 3/6           third-party [13] 12/25
 20/7                   shared [1] 11/9
                                                  3/9 3/11 5/2 5/4 5/8        than [5] 12/11 13/22        13/2 13/3 14/11 16/9
rules [7] 11/17 14/20 should [11] 8/9 10/10                                    16/15 17/8 31/2
                                                  5/14 5/16                                               18/8 18/18 18/22 19/23
 25/11 25/22 28/20 33/1 16/8 19/18 19/24 20/25
                                                 states   [8]   1/1 1/3 1/10 thank [8] 7/18 34/18         19/23 22/16 22/18
 33/15                   21/4 21/6 23/10 33/1
                                                  7/4 14/3 29/4 29/5 29/7 34/19 34/21 35/22               32/11
Ryan [2] 1/18 7/7        33/1
                                                                               36/15 36/21 36/22
                                                 status   [5]   1/9 16/1                                 thirdly  [1] 8/5
                        side [2] 28/4 33/14
                                                                                                                                44


T     Case 1:20-cv-03010-APM
                    7/21 12/19                  Document       31 [6]
                                                      Washington         Filed
                                                                             1/5 11/12/20
                                                                                    27/5 33/18 Page 44 ofZ44
                         unfolding [1] 7/22           1/15 3/13 6/3 6/8 6/14 while [2] 18/6 30/11
this [75]                                                                                                   Zaremba [4] 6/10 37/2
                         unilaterally [1] 21/19 way [4] 21/3 27/10                 who [7] 13/4 14/6 14/7
Thomas [3] 1/13 1/19                                                                                        37/10 37/11
                         UNITED [5] 1/1 1/3           29/9 29/10                    23/23 29/5 29/7 30/4
 7/7
                          1/10 7/4 14/3               wc.com [1] 6/4               who's [2] 25/23 26/23
those [17] 7/25 10/4
                         United States [1] 14/3 we [93]                            why [7] 20/1 23/6
 10/6 10/8 10/15 10/16
                         United    States  of [1]     we believe      [2] 13/19     23/10 24/19 24/22 25/4
 10/25 14/17 20/12
                          7/4                         13/21                         35/4
 20/23 20/25 21/3 22/9
                         unless    [1]  36/13         We  look    [1]   19/1       will [23] 8/24 12/3 12/4
 23/10 23/16 23/17
                         unnecessarily      [1]  36/6 we will [2] 8/24 36/2         12/6 17/16 18/8 18/16
 31/25
                         unoptimistic [1] 28/18 we'd [1] 22/9                       18/21 18/22 20/16 27/1
though [2] 9/4 9/13
                         unreasonable      [1]        we'll  [17]   15/25 17/15 27/4 27/5 30/5 31/18
thought [1] 7/19
                          24/24                       20/25 21/2 21/5 21/19 32/7 32/13 34/6 34/8
thoughtful [1] 32/20
                         until [5]   11/18 12/3       22/23 27/11 27/12 32/3 34/12 35/1 35/10 36/2
thoughts [1] 17/19
                          17/25 19/16 36/11           33/16 33/21 35/25            William [4] 6/10 37/2
three [6] 7/24 8/1 8/1
                         up  [7]  11/7 26/17 27/9 36/13 36/16 36/17                 37/10 37/11
 20/4 27/8 30/24
                          32/1 33/17 34/12 35/1 36/18                              WilliamPZaremba     [1]
through [7] 9/21 23/16
                         upon    [2]  11/19 18/17 we're [6] 11/3 18/5               6/15
 24/4 24/6 33/9 33/22
 36/4                    us [21] 9/1 10/21 11/19 20/6 23/15 25/20 26/21 WILLIAMS [1] 6/2
                          11/20 11/25 12/11           we've [2] 35/3 36/18         willing [2] 18/25 24/23
thus [1] 11/7
                          12/15 20/11 22/24           weeds     [1]  25/13         WILSON [1] 6/6
time [19] 8/22 9/11
                          23/13 23/20 24/12           week    [1]  24/14           window [1] 24/8
 11/1 12/9 15/10 15/22
                          25/10 25/15 25/16           weekly     [1]  27/8         Winkle  [2] 3/3 7/9
 16/24 17/11 21/20 25/1
                          25/17 25/21 26/5 34/9 weeks [8] 8/25 12/3                wish  [1] 28/4
 28/21 29/11 29/18
                          34/25 35/22                 12/9 19/15 20/4 27/12 within [6] 13/4 14/11
 30/13 32/10 35/7 35/20
 35/22 36/15             US Foods [1] 34/9            33/5 36/19                    14/14 14/19 15/11
                         usdoj.gov     [2] 1/17       weigh    [2]   14/24 32/16 16/22
timing [3] 11/16 23/21
                          1/22                        welcome [2] 7/16             without [1] 28/19
 33/12
                         useful   [4]  7/19 7/20      11/23                        witnesses   [2] 19/23
titled [1] 37/4
                          11/22 35/2                  well  [16]   7/17 10/19       19/24
today [4] 11/24 20/4
                         usually [1] 33/18            11/5 12/7 13/1 13/25         work [3] 14/25 24/23
 23/11 28/14
                                                      16/12 17/7 17/21 19/5 35/14
together [2] 7/19 36/19 V
                                                      19/9 20/1 21/21 23/3         working [1] 10/11
told [1] 13/15
                         valuable [2] 32/2 32/10 35/14 35/22                       works [1] 30/7
too [1] 12/15
                         Van [2] 3/3 7/9              were [10] 13/2 13/18         would [63]
top [1] 29/17
                         various [2] 24/14 32/10 14/16 20/2 22/15 23/7 writing [1] 15/2
topic [1] 31/3
                         versus [2] 7/5 34/8          29/16 32/18 32/19 34/9 written [1] 32/4
touch [1] 30/8
                         very [12] 10/11 10/11 West [2] 3/5 3/13                   wsgr.com [2] 6/9 6/9
toward [1] 14/25          18/24 18/24 21/9 26/5 what [33] 7/22 8/13
trade [1] 32/11           26/12 27/19 28/8 33/10 11/20 11/21 11/24                 Y
transcript [3] 1/9 6/16 34/22 36/8
                                                      11/25 12/22 14/22            year [3] 7/23 19/10
 37/3
                         VIA [1] 1/9                  15/10 16/3 17/19 20/6 30/24
transcription [1] 6/16
                         videoconference [1]          20/19 21/23 22/2 22/3 year-plus [1] 30/24
transcripts [2] 16/14     36/4                        22/19 24/8 25/6 25/19 years [4] 30/11 30/15
 23/9
                         view [2] 14/1 17/22          25/25 26/1 26/14 26/24 30/17 30/24
treated [2] 13/3 20/25
                         views [1] 15/3               27/11 29/18 29/18 30/6 Yes [3] 20/9 20/12
try [4] 10/15 12/17 16/8
                         volume [2] 23/25 24/16 30/6 32/24 33/1 33/1                35/21
 23/17
                         voluntarily [1] 23/7         36/6                         Yesterday [1] 13/13
trying [1] 26/16
                         vs [1] 1/5                   what's [2] 21/14 35/4 yet [3] 8/22 14/24
turn [2] 12/21 28/1                                                                 22/25
                                                      whatever [2] 12/7
turned [2] 16/13 16/15 W
                                                      16/13                        you [95]
turning [1] 17/10        wait [2] 17/25 19/16         when [4] 14/3 15/3           you know [1] 23/12
turns [1] 31/16          waived [1] 8/9               25/14 36/6                   you'd [4] 11/20 21/23
two [7] 12/3 12/9 19/15 waiving [1] 28/19
                                                      where    [12]    12/19 13/9 21/23 22/2
 28/11 30/10 31/12 32/6 want [22] 10/5 17/13
                                                      14/2 15/7 16/2 17/9          you're [4] 12/12 15/2
type [2] 24/16 24/25      18/19 19/2 22/9 22/11 24/24 25/19 27/14                   15/12 29/20
types [2] 9/9 32/25       22/12 23/4 23/14 24/18 27/16 30/25 31/24                 you've [4] 15/1 15/12
U                         24/23 25/13 28/3 28/25 whether [29] 8/14 8/15 16/4 16/5
                          29/12 30/1 31/18 32/12                                   your [41]
U.S [4] 1/14 1/19 6/12 33/21 34/1 34/15 34/24 8/15 8/23 9/4 9/5 11/9
                                                      11/18    15/8   16/3  16/5   Your Honor [32] 8/17
 34/9
                         wanted [7] 7/24 8/3 8/5 16/7 18/8 19/17 19/21 8/25 10/12 11/14 12/2
under [9] 18/9 25/10      29/22 30/8 30/19 31/9 20/17 27/5 27/20 28/12 12/7 13/11 15/14 15/20
 28/15 29/20 32/14
                         warrant [1] 13/22            28/13 28/16 29/2 29/3 17/21 20/5 20/10 20/14
 32/19 32/21 33/1 33/2
                         was [13] 10/13 13/6          29/5 29/6 30/17 30/18 22/6 22/20 23/5 23/14
underlying [1] 24/19      13/6 14/18 25/16 28/25 31/5 33/6                          23/17 25/1 25/3 25/14
understand [7] 8/8        30/10 30/14 30/15           which    [12]    8/11 11/2    26/12 28/6 28/7 28/19
 8/12 9/13 17/8 19/9
                          30/16 30/19 31/15           11/20    11/25    12/3 15/11  29/10 34/18 34/21 35/7
 20/6 29/19
                          34/14                       17/13    19/5   21/14  26/5   35/8 35/20 36/22
understanding [2]
